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                          Nos. 23-9509, 23-9512, 23-9520


                     UNITED STATES COURT OF APPEALS
                          FOR THE TENTH CIRCUIT


                             STATE OF UTAH, et al.,
                                  Petitioners,

                                        v.

            U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,
                            Respondents.


                 Petition for Review of Final Agency Action of the
                  United States Environmental Protection Agency
                                 88 Fed Reg. 9336


                    PRELIMINARY RESPONDENTS’ BRIEF
                         (Deferred Appendix Appeal)


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                           Oral argument is requested.
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        Okla. Gas and Elec. Co. v. EPA, No. 23-9521 (10th Cir.)

        Tulsa Cement LLC, et al. v. EPA, No. 23-9533 (10th Cir.)

        W. Farmers Elec. Coop. v. EPA, No. 23-9534 (10th Cir.)

        Basin Elec. Power Coop. v. EPA, No. 23-9537 (10th Cir.)

        Wyoming v. EPA, No. 23-9529 (10th Cir.)

        PacifiCorp v. EPA, No. 23-9531 (10th Cir.)

  The following related cases are pending before other Circuit Courts:

        Utah v. EPA, No. 23-1102 (D.C. Cir.)

        Oklahoma v. EPA, No. 23-1103 (D.C. Cir.)

        Okla. Gas & Elec. Co. v. EPA, No.23-1105 (D.C. Cir.)

        Tulsa Cement LLC v. EPA, No. 23-1106 (D.C. Cir.)

        W. Farmers Elec. Coop. v. EPA, No. 23-1107 (D.C. Cir.)

        PacifiCorp v. EPA, No. 23-1112 (D.C. Cir.)

        Nevada v. EPA, No. 23-1113 (D.C. Cir.)

        Nev. Cement Co. v. EPA, No. 23-1115 (D.C. Cir.)

        West Virginia v. EPA, No. 23-1418 (4th Cir.)

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        Ky. Energy & Env’t Cabinet v. EPA, No. 23-3225 (6th Cir.)

        Arkansas v. EPA, No. 23-1320 (8th Cir.)

        Missouri v. EPA, No. 23-1719 (8th Cir.)

        Union Elec. Co. v. EPA, No. 23-1751 (8th Cir.)

        Sw. Elec. Power Co. v. EPA, No. 23-1765 (8th Cir.)

        City Utils. of Springfield, Mo. v. EPA, No. 23-1774 (8th Cir.)

        ALLETE, Inc. v. EPA, No. 23-1776 (8th Cir.)

        Hybar, LLC v. EPA, No. 23-1777 (8th Cir.)

        Ark. League of Good Neighbors v. EPA, No. 23-1778 (8th Cir.)

        Nev. Cement Co. v. EPA, No. 23-682 (9th Cir.)

        Alabama v. EPA, No. 23-11173 (11th Cir.)

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  1 ppb Memo                    Memorandum, P. Tsirigotis, Director, Off. of Air
                                Quality Plan. & Standards, EPA, Analysis of
                                Contribution Thresholds for Use in Clean Air Act
                                Section 110(a)(2)(D)(i)(I) Interstate Transport
                                State Implementation Plan Submissions for the
                                2015 Ozone National Ambient Air Quality
                                Standards (Aug. 31, 2018), JA_-_

  2016v2 Air Quality TSD        Air Quality Modeling Technical Support
                                Document – 2015 Ozone NAAQS Transport SIP
                                Proposed Actions, JA_-_

  2016v3 Air Quality TSD        Air Quality Modeling Technical Support
                                Document – 2015 Ozone NAAQS SIP Disapproval
                                Final Action, JA_-_

  2016v3 Emissions TSD          Technical Support Document (TSD): Preparation
                                of Emissions Inventories for the 2016v3 North
                                American Emissions Modeling Platform, JA_-_

  2019 Finding                  Findings of Failure to Submit a Clean Air Act
                                Section 110 State Implementation Plan for
                                Interstate Transport for the 2015 Ozone National
                                Ambient Air Quality Standards (NAAQS), 84 Fed.
                                Reg. 66612 (Dec. 5, 2019)

  APA                           Administrative Procedure Act

  Act                           Clean Air Act

  Colorado TSD                  Air Quality Technical Support Document
                                (AQTSD) for the Denver Metro/North Front
                                Range 2023 Severe/Moderate Ozone State
                                Implementation Plan, JA_-_

  Disapproval                   Air Plan Disapprovals; Interstate Transport of Air
                                Pollution for the 2015 8-Hour Ozone National




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                                Ambient Air Quality Standards, 88 Fed. Reg. 9336
                                (Feb. 13, 2023)

  EPA                           U.S. Environmental Protection Agency

  FIP                           Federal Implementation Plan

  Good Neighbor Plan            Federal “Good Neighbor Plan” for the 2015 Ozone
                                National Ambient Air Quality Standards, 88 Fed.
                                Reg. 36654 (June 5, 2023)

  Modeling Memo                 Memorandum, P. Tsirigotis, Director, Off. of Air
                                Quality Plan. & Standards, EPA, Information on
                                the Interstate Transport State Implementation Plan
                                Submissions for the 2015 Ozone National Ambient
                                Air Quality Standards under Clean Air Act Section
                                110(a)(2)(D)(i)(I) (Mar. 27, 2018), JA_-_

  NAAQS                         National Ambient Air Quality Standards

  NOX                           Nitrous Oxides

  Nov. 14, 2018 Email           Email from Adam Clark, Air Program, EPA
                                Region 8 to Jay Baker, Environmental Scientist,
                                Utah Department of Environmental Quality (Nov.
                                14, 2018), JA_

  October 2017 Memo             Memorandum, S. Page, Director, Off. of Air
                                Quality Plan. & Standards, EPA, Supplemental
                                Information on the Interstate Transport State
                                Implementation Plan Submissions for the 2008
                                Ozone National Ambient Air Quality Standards
                                under Clean Air Act Section 110(a)(2)(D)(i)(I)
                                (Oct. 27, 2017), JA_-_

  ppb                           parts per billion

  Proposal                      Air Plan Disapproval; Utah; Interstate Transport of
                                Air Pollution for the 2015 8-Hour Ozone National




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                                Ambient Air Quality Standards, 87 Fed. Reg.
                                31470 (May 24, 2022)

  RTC                           2015 Ozone NAAQS Interstate Transport SIP
                                Disapprovals – Response to Comments (RTC)
                                Document, JA_-_

  SIP                           State Implementation Plan

  Submission                    Utah’s 2015 State Implementation Plan
                                Infrastructure Elements for Ozone, EPA-R08-
                                OAR-2022-0315-0007 (Jan. 24, 2020), JA_-_

  TCEQ Modeling TSD             EPA Region 6 – 2015 8-Hour Ozone Transport
                                SIP Proposal Technical Support Document, JA_

  TSD                           Technical Support Document

  Update Rule                   Cross-State Air Pollution Rule Update for the 2008
                                Ozone NAAQS, 81 Fed. Reg. 74504 (Oct. 26,
                                2016)

  VOC                           Volatile Organic Compound




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                                   INTRODUCTION

        Air pollution heeds no boundaries, creating a “thorny causation” problem

  whereby emissions from some states unduly affect other states’ ability to attain the

  federal air quality standards, which are set to protect public health. EPA v. EME

  Homer City Generation, L.P., 572 U.S. 489, 497-99, 514 (2014). The Good

  Neighbor Provision of the Clean Air Act (“Act”), 42 U.S.C. § 7410(a)(2)(D)(i)(I),

  ensures that upwind states do not impede the efforts of downwind states to attain

  federal air quality standards. Congress established a regime requiring states to

  propose to EPA plans to eliminate their significant contributions to nonattainment

  or interference with maintenance of healthy downwind air quality. EPA must

  ensure that those plans are adequate—and, if not, disapprove them.

        The Good Neighbor Provision is particularly important for ozone, which

  presents a nationwide problem caused, in part, by emissions that can travel

  hundreds of miles. After EPA strengthened federal ozone standards in 2015, states

  had to submit plans to meet their Good Neighbor obligations. EPA carefully

  reviewed states’ submissions to address this nationwide problem and reasonably

  disapproved submissions from 21 states, including Utah. See 88 Fed. Reg. 9336

  (Feb. 13, 2023) (“Disapproval”). Despite record evidence demonstrating that these

  states were contributing to downwind pollution problems, each of these states

  provided unsound analyses in a bid to avoid doing their fair share to fulfill their



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  Good Neighbor obligations under the new, more protective ozone air quality

  standards.

        Instead of reviewing EPA’s Disapproval, this Court should dismiss the

  petitions or transfer them to the D.C. Circuit, which has exclusive venue under the

  Act. That is so because the Disapproval is either “nationally applicable” or “based

  on a determination of nationwide scope or effect” made and published by EPA.

  See 42 U.S.C. § 7607(b)(1). Interstate ozone pollution is a quintessential national

  problem, and Congress expressly directed states to adopt plans to prohibit

  emissions that “contribute significantly to nonattainment” or “interfere with

  maintenance” of the air quality standards in “any other state.” Id.

  § 7410(a)(2)(D)(i)(I). On its face, the Disapproval is nationally applicable, as EPA

  used a nationally consistent analytical framework to evaluate states’ compliance

  with these obligations and ultimately disapproved SIPs from 21 states throughout

  eight of ten EPA Regions and ten federal judicial circuits. The Disapproval was

  also based on several determinations that have nationwide scope or effect—

  precisely the types of determinations for which Congress directed centralized

  review in the D.C. Circuit.

        If the Court nonetheless decides the merits itself, it should deny the petitions

  for review because EPA reasonably disapproved Utah’s submission for failing to

  comply with the Good Neighbor Provision. To ensure that Utah meets its statutory



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  obligations, and to carry out its own statutory review obligations, EPA performed a

  highly technical review aligned with how the Supreme Court and the D.C. Circuit

  (which, again, has exclusive venue over this and similar EPA actions) have

  interpreted the Good Neighbor Provision for decades. See EME Homer, 572 at

  497-99, 524. EPA carefully evaluated the substance of Utah’s plan and reasonably

  determined that the State had failed to support its conclusion that it did not

  “contribute significantly” to nonattainment or “interfere with maintenance” of

  federal ozone standards in Colorado. EPA’s updated air quality analysis in the

  Disapproval confirmed EPA’s determination.

        Petitioners engage very little with EPA’s actual explanations for its

  Disapproval, instead denying EPA’s statutory obligation to independently evaluate

  state plans’ compliance with the Good Neighbor Provision and misrepresenting

  EPA’s reasons for disapproval. Because EPA’s grounds for its Disapproval were

  lawful and based on longstanding practice and case law, the Court should deny the

  petitions for review. Even if the Court finds some fault in EPA’s reasoning, the

  Court should limit its remedy to the Disapproval before the Court and allow the

  Disapproval to remain in place on remand.

                          STATEMENT OF JURISDICTION

        The challenged EPA action (the Disapproval) constitutes final agency action

  subject to judicial review pursuant to 42 U.S.C. § 7607(b)(1), and Petitioners



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  timely filed their petitions for judicial review. But the petitions should be

  transferred to the D.C. Circuit pursuant to 42 U.S.C. § 7607(b)(1). See infra Arg.

  I.

                            STATEMENT OF THE ISSUES

        1.     Whether venue lies exclusively in the D.C. Circuit under 42 U.S.C.

  § 7607(b)(1), as the Disapproval is nationally applicable or, if regionally or locally

  applicable, is based on several determinations of nationwide scope or effect made

  and published by EPA.

        2.     Whether EPA’s technical evaluation and disapproval of Utah’s state

  implementation plan submission—a submission that asserted without foundation

  that Utah’s emissions do not contribute significantly to nonattainment or interfere

  with maintenance of downwind states’ compliance with federal ozone standards—

  gave reasonable effect to the Act, case law, and EPA’s longstanding practice

  implementing the Good Neighbor Provision. Id. § 7410(a)(2)(D)(i)(I).

        3.     Whether, if the Court determines that remand of the Disapproval is

  appropriate, the Court should limit its remedy to the Disapproval before the Court

  and otherwise remand without vacatur, as EPA likely could correct any defects in

  the Disapproval that the Court may find, and vacating the Disapproval (especially

  without recognizing EPA’s independent authority to promulgate the Good




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  Neighbor Plan for Utah separate from the Disapproval) would have disruptive

  consequences on states’ and EPA’s compliance with the Good Neighbor Provision.

                            STATEMENT OF THE CASE

  I.    Legal Background

        A.     Clean Air Act

        The Clean Air Act, 42 U.S.C. §§ 7401-7671q, seeks “to protect and enhance

  the quality of the Nation’s air resources so as to promote the public health and

  welfare,” id. § 7401(b)(1), and to control air pollution through a system of shared

  federal and state responsibility, see Gen. Motors Corp. v. United States, 496 U.S.

  530, 532 (1990). The Act, as amended, reflects “sharply increased federal authority

  and responsibility” following “congressional dissatisfaction with the progress of

  existing air pollution programs and a determination to . . . guarantee the prompt

  attainment and maintenance of specified air quality standards.” Train v. NRDC,

  421 U.S. 60, 64 (1975); Union Elec. Co. v. EPA, 427 U.S. 246, 249 (1976).

               1.    Ozone National Ambient Air Quality Standards and
                     Attainment Areas

        The Act directs EPA to set National Ambient Air Quality Standards

  (“NAAQS”) for specific pollutants, including ozone, at levels required to protect

  public health and welfare. 42 U.S.C. § 7409(b)(1). EPA then must designate areas

  as being in “attainment” or “nonattainment,” or “unclassifiable.” Id. § 7407(d).

  Nonattainment areas are subject to statutorily based deadlines to attain the NAAQS


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  based on their classification. Id. § 7511(a). Failure to meet those deadlines leads

  to areas being reclassified to higher classifications and increasingly stringent

  emissions reduction requirements. Id. §§ 7501-15.

        Ozone at ground level (commonly known as smog) is harmful to public

  health and welfare—it “can cause lung dysfunction, coughing, wheezing, shortness

  of breath, nausea, respiratory infection” and widely affects “trees, vegetation, and

  crops.” Miss. Comm’n on Env’t Quality v. EPA (MCEQ), 790 F.3d 138, 147 (D.C.

  Cir. 2015) (quotation omitted). To sufficiently protect public health and welfare,

  EPA has strengthened the ozone NAAQS multiple times, most recently in 2015 by

  setting the ozone NAAQS to 70 parts per billion (“ppb”). 80 Fed. Reg. 65292

  (Oct. 26, 2015) (“2015 ozone NAAQS”).

               2.     State Implementation Plans

        All states, regardless of whether they have nonattainment areas, bear the

  initial responsibility to adopt state implementation plans (“SIPs”) that are adequate

  to implement, maintain, and enforce the NAAQS. 42 U.S.C. § 7410(a). States

  must submit SIPs for EPA’s review within three years of the promulgation or

  revision of a NAAQS. Id.

        While the Act places “primary responsibility for formulating pollution

  control strategies” on states, it subjects states “to strict minimum compliance

  requirements” to attain the NAAQS. Union Elec., 427 U.S. at 256-57. Once a



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  state submits a SIP, EPA conducts a completeness review. 42 U.S.C.

  § 7410(k)(1)(B). If EPA is satisfied that the submission contains all the requisite

  parts, EPA considers the SIP complete and must review the substance of the SIP

  for compliance with the Act. Id. § 7410(k)(3). If EPA determines that a SIP does

  not meet all of the Act’s applicable requirements, it must issue a partial or full

  disapproval. See id.

        If approved, the SIP becomes enforceable as a matter of federal law and

  cannot be modified except by EPA’s approval of a SIP revision. Id. §§ 7410(i), (l),

  7413. If EPA finds that a state either failed to submit a complete SIP under

  Section 7410(k)(1) or disapproves a SIP because it did not meet the Act’s

  applicable requirements under Section 7410(k)(3), EPA must promulgate a federal

  implementation plan (“FIP”). Id. § 7410(c)(1); Heal Utah v. EPA, No. 21-9509,

  --- F.4th ----, 2023 WL 5185608, at *2 (10th Cir. Aug. 14, 2023).

        Unless the Act otherwise specifies, there is no requirement for EPA to

  provide guidance or specifically define the Act’s applicable requirements for

  states. EME Homer, 572 U.S. at 510. Nor is EPA required to provide states with

  opportunities to correct a deficient state plan before issuing a FIP. Id. at 509. EPA

  must promulgate a FIP at any time within two years and need not “postpone its

  action even a single day.” Id.; see also Oklahoma v. EPA, 723 F.3d 1201, 1223

  (10th Cir. 2013).



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        B.     The Good Neighbor Provision

        Congress enacted the Good Neighbor Provision to hold upwind states

  accountable for their fair share of emissions reductions so that downwind states do

  not bear the regulatory compliance burden of attaining and maintaining the

  NAAQS alone. 42 U.S.C. § 7410(a)(2)(D)(i)(I); EME Homer, 572 U.S. at 496-99;

  Wisconsin v. EPA, 938 F.3d 303, 309-10 (D.C. Cir. 2019) (per curiam); Maryland

  v. EPA, 958 F.3d 1185, 1190 (D.C. Cir. 2020) (per curiam).

        The provision is especially important for ozone, which travels great

  distances, its path subject to “the vagaries of the wind.” EME Homer, 572 U.S. at

  497. Additionally, ozone and its precursors, primarily nitrogen oxides (“NOX”)

  and volatile organic compounds (“VOCs”), “travel easily through the atmosphere,

  which can result in NAAQS violations hundreds of miles away from the source of

  the ozone precursors.” MCEQ, 790 F.3d at 147.

        Once EPA promulgates or revises a NAAQS, states must submit SIPs that,

  in accordance with the Good Neighbor Provision, “prohibit[]” through “adequate

  provisions” in-state emissions from “any source or other type of emissions

  activity” that “will” “contribute significantly to nonattainment” or “interfere with

  maintenance” of the NAAQS in other states. 42 U.S.C. § 7410(a)(1), (2)(D). The

  Act does not otherwise define the terms “contribute significantly” or “interfere

  with maintenance,” though the Act requires that the Good Neighbor Provision be



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  implemented consistent with Title I of the Act (42 U.S.C. §§ 7401-7515). See

  Wisconsin, 938 F.3d at 315-16. Congress has also provided a mechanism in the

  Act for EPA to directly enforce the Provision’s requirements against sources upon

  granting the petition of a downwind jurisdiction. 42 U.S.C. § 7426(b)-(c).

               1.    EPA’s Past Rulemakings Related to the Good
                     Neighbor Provision

        “Over the past 50 years, Congress has addressed interstate air pollution

  several times and with increasing rigor.” EME Homer, 572 U.S. at 497. More

  specifically, the Good Neighbor Provision evolved from earlier versions that first

  relied on states’ “cooperation,” which proved ineffective. Id. at 497-99. Even

  under the current more inclusive and prescriptive Good Neighbor Provision, many

  states still failed to submit or adopt plans containing adequate provisions

  addressing their Good Neighbor obligations, including for ozone, leading to

  successive rounds of rulemaking and judicial decisions.

        Since 1998, for each ozone NAAQS revision, EPA has promulgated national

  rules specifically defining and/or implementing Good Neighbor requirements for

  states and has approved adequate Good Neighbor submissions and disapproved

  inadequate ones. See, e.g., 63 Fed. Reg. 57356 (Oct. 27, 1998) (“NOX SIP Call,”

  addressing the 1979 ozone NAAQS); 70 Fed. Reg. 25162 (May 12, 2005) (“Clean

  Air Interstate Rule,” addressing the 1997 ozone NAAQS); 76 Fed. Reg. 48208

  (Aug. 8, 2011) (“Cross-State Rule,” addressing the 1997 ozone NAAQS); 81 Fed.


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  Reg. 74504 (Oct. 26, 2016) (“Update Rule,” addressing the 2008 ozone NAAQS);

  86 Fed. Reg. 23054 (Apr. 30, 2021) (“Revised Update Rule,” addressing the 2008

  ozone NAAQS).

        These rules defining and implementing Good Neighbor obligations have

  been extensively litigated. The resulting cases have clarified the meaning of key

  terms in the Good Neighbor Provision, at times setting bounds on the scope of

  EPA’s authority and at other times holding that EPA must regulate more

  aggressively. EPA’s action on 2015 ozone NAAQS Good Neighbor SIPs was

  informed by these court decisions.

        In 2000, the D.C. Circuit affirmed EPA’s NOX SIP Call, including the use of

  cost as part of the determination of significant contribution, and upheld EPA’s

  ability to set NOX budgets notwithstanding a state’s authority to develop SIP

  submissions. Michigan v. EPA, 213 F.3d 663, 674-79, 685-88 (D.C. Cir. 2000)

  (per curiam). The D.C. Circuit, however, invalidated EPA’s next Good Neighbor

  rule, the Clean Air Interstate Rule, holding, inter alia, that EPA (and states) must

  align Good Neighbor emission reductions with attainment dates faced by

  downwind areas and that each state must eliminate its own significant contribution

  to nonattainment or interference with maintenance regardless of other contributions

  to the same downwind areas. North Carolina v. EPA, 531 F.3d 896, 911-12, 920-

  21 (D.C. Cir. 2008).



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        In 2011, EPA replaced the Clean Air Interstate Rule with the Cross-State

  Rule. 76 Fed. Reg. 48208. In that rule, EPA made error corrections because of

  North Carolina, converting its earlier approval of 22 states’ submissions into

  disapprovals, and promulgated FIPs for those states. Id. at 48220-22.

        The D.C. Circuit vacated the Cross-State Rule in part, holding that EPA

  must define Good Neighbor obligations and give states the opportunity to submit

  approvable SIPs before promulgating FIPs. EME Homer City Generation, L.P. v.

  EPA, 696 F.3d 7, 30-31 (D.C. Cir. 2012). The Supreme Court rejected this holding

  and reversed. EME Homer, 572 U.S. at 496. The Supreme Court also held that,

  through the Good Neighbor Provision, Congress delegated to EPA the authority to

  determine what constitutes significant contribution to nonattainment or

  interference with maintenance. Id. at 513-20. The Court upheld as reasonable the

  4-step framework EPA relied on to evaluate Good Neighbor obligations. Id. In

  particular, the Court upheld EPA’s cost-based analysis for defining significant

  contribution across all upwind states as an “efficient and equitable” interpretation

  of the Good Neighbor Provision. Id. at 519-20. On remand, the D.C. Circuit

  largely affirmed the Cross-State Rule but remanded to EPA on record-based

  grounds as to certain states. EME Homer City Generation, L.P. v. EPA, 795 F.3d

  118 (D.C. Cir. 2015).




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        During those proceedings, EPA revised the ozone NAAQS to 75 ppb in

  2008, and, in 2016, following the decisions in EME Homer, promulgated the

  Update Rule, establishing Good Neighbor FIPs for 22 states. 81 Fed. Reg. 74504.

  The Update Rule was remanded on the narrow ground that EPA did not fully

  address states’ Good Neighbor obligations by the next downwind attainment date.

  Wisconsin, 938 F.3d at 312-20. In response to this remand, EPA promulgated the

  Revised Update Rule, which fully resolved the Good Neighbor obligations for 21

  states. 86 Fed. Reg. 23054, upheld by Midwest Ozone Grp. v. EPA, 61 F.4th 187

  (D.C. Cir. 2023).

        While litigation over EPA’s Good Neighbor rules has primarily focused on

  its FIPs and actions defining Good Neighbor obligations, the D.C. Circuit (and no

  other court to date) has also addressed EPA’s SIP disapprovals. In EME Homer,

  the court upheld EPA’s error correction of 22 SIP approvals to disapprovals. 795

  F.3d at 132-35. And in Westar Energy, Inc. v. EPA, the court upheld EPA’s

  disapproval of Kansas’s Good Neighbor SIP for the 2006 fine particulate matter

  NAAQS. 608 F. App’x 1 (D.C. Cir. 2015) (per curiam).

              2.      EPA’s 4-Step Framework for Evaluating Good
                      Neighbor SIP Obligations

        For decades, when evaluating SIPs and formulating FIPs, EPA has

  consistently utilized a 4-step framework to implement the Good Neighbor

  Provision, including for ozone. Response to Comments (“RTC”) at 431 [JA__].


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  This framework was developed to give content to the critical statutory terms in the

  provision, see id.; 42 U.S.C. § 7410(a)(2)(D)(i)(I), and has been upheld as

  “permissible, workable, and equitable,” EME Homer, 572 U.S. at 524; see also,

  e.g., Midwest Ozone Grp., 61 F.4th at 189 n.1 (listing other cases); Westar, 608 F.

  App’x at 2-3. The 4-step framework “provide[s] a reasonable organization to the

  analysis of the complex air quality challenge of interstate ozone transport.”

  Disapproval at 9338. For this reason, many states generally follow this framework

  when formulating their SIPs, though EPA does not require states to do so. Id.; see

  also Submission at 15-16 [JA_-_] (applying EPA’s Step 1 analysis). Regardless of

  the approach states take, however, the Act obligates EPA to independently evaluate

  whether a submission contains “adequate provisions” to comply with the Good

  Neighbor Provision. 42 U.S.C. § 7410(a)(2)(D), (k)(3). Given the multistate

  nature of ozone pollution, EPA does so “with an eye to ensuring national

  consistency and avoiding inconsistent or inequitable results.” Disapproval at 9381.

        Assessing Good Neighbor obligations requires first identifying an

  appropriate future analytic year. See id. at 9340-41; North Carolina, 531 F.3d at

  911-12. Here, EPA identified 2023 as the appropriate analytic year, which reflects

  the last year that emissions reductions may be implemented in a full ozone season

  (May 1 through September 30) before the next attainment date, the Moderate

  attainment date of August 3, 2024. Disapproval at 9341.



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        Then, under the 4-step framework, states when preparing SIP submissions,

  or EPA when promulgating a FIP would:

        Step 1: Identify downwind “nonattainment” and “maintenance” receptors,

  which are monitoring sites that “will” not attain or will struggle to maintain the

  NAAQS in a future year. 42 U.S.C. § 7410(a)(2)(D)(i); EME Homer, 572 U.S. at

  495. “Nonattainment” receptors are those monitors that are currently measuring

  exceedances of the NAAQS and are projected to continue to exceed the NAAQS in

  the future analytic year, and “maintenance” receptors are those monitors at risk of

  exceeding the NAAQS in the future. Disapproval at 9348; see also North

  Carolina, 531 F.3d at 909-11.

        Ozone concentration levels are represented as regulatory “design values,”

  the average of three consecutive years’ fourth-highest daily eight-hour average

  ozone concentration. 40 C.F.R. Pt. 50, App. U 1(c), 4. In the context of

  considering a state’s Good Neighbor obligations for the 2015 ozone NAAQS, EPA

  (and Utah) uses modeling to evaluate whether any air quality monitor’s projected

  design value for 2023 (the analytic year) is exceeding or at risk of exceeding 70

  ppb (the level of the NAAQS).

        Step 2: Determine whether upwind-state “emissions” “contribute” to those

  downwind “nonattainment” and “maintenance” receptors by applying a screening

  threshold. 42 U.S.C. § 7410(a)(2)(D)(i). If a state’s impact to an identified



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  receptor meets or exceeds a contribution threshold, the state is considered linked to

  that receptor, warranting further evaluation in Step 3 to determine whether it will

  “contribute significantly to nonattainment” or will “interfere with maintenance” of

  the NAAQS in other states. Id.; Disapproval at 9342; see also EME Homer, 572

  U.S. at 502-03; Wisconsin, 938 F.3d at 311. States with impacts below the

  threshold to all downwind receptors are screened out and are excluded from further

  consideration. Disapproval at 9342. Thus, Step 2 identified those states that

  “should have responsibility for addressing their contribution to the downwind

  nonattainment and maintenance problems to which they collectively contribute.”

  Id.

        EPA has used a screening threshold equal to 1% of the relevant NAAQS

  since 2011 because ozone air quality problems are affected by “a great number of

  geographically dispersed emissions sources” and 1% is “a reasonably small enough

  value to identify only the greater-than-de minimis contributers yet is not so large

  that it unfairly focuses attention for further action only on the largest single or few

  upwind contributers.” Id. at 9371; see also EME Homer, 572 U.S. at 500. For the

  2015 ozone NAAQS (70 ppb), 1% is 0.70 ppb.

        Step 3: Evaluate the “amounts” of air pollution that “contribute

  significantly” or “interfere with maintenance.” 42 U.S.C. § 7410(a)(2)(D)(i). It is

  at this step in the analysis that the allocation of responsibility is determined among



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  contributing upwind states. A state or EPA would determine the amount by which

  a state is contributing significantly to nonattainment or interfering with

  maintenance by evaluating how emissions control strategies broadly applied across

  linked upwind states would benefit air quality downwind. 572 U.S at 514-

  20.1 The factors EPA typically considers include the cost-effectiveness of potential

  emissions controls, the total emissions reductions that may be achieved by

  requiring such controls (if applied across all linked upwind states), and an

  evaluation of the air quality impacts such emissions reductions would have on the

  downwind receptors. Disapproval at 9342-43. In this way, each state is held

  responsible for its fair share of a collective problem. See EME Homer, 572 U.S. at

  519 (“Eliminating those amounts that can cost-effectively be reduced is an efficient

  and equitable solution to the allocation problem the Good Neighbor Provision

  requires the Agency to address.”).

        Step 4: Implement “adequate provisions” “prohibiting” those emissions.

  See 42 U.S.C. § 7410(a)(2)(D). At this step, a state or EPA would develop

  permanent and federally enforceable strategies to achieve emissions reductions

  found to be necessary at Step 3 to eliminate significant contribution to



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    EME Homer upheld EPA’s decision not to allocate responsibility among upwind
  states proportionally to each state’s contribution. 572 U.S. at 514-19. The
  Disapproval stated EPA’s openness to this alternative method of allocating
  responsibility, though no state adopted this approach. Disapproval at 9376.

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  nonattainment or interference with maintenance. Disapproval at 9343. Thus,

  emission control measures identified as necessary at Step 3 must be included in the

  SIP (or FIP). Id.

  II.   Factual Background

        A.     Modeling Issued for the 2015 Ozone NAAQS

        EPA (and Utah) used the CAMx photochemical grid model to identify

  downwind nonattainment and maintenance receptors in Step 1 and upwind-state

  contributions to these receptors in Step 2. See id. at 9343-44; Submission at 15

  [JA_]. The modeling for Steps 1 and 2 is based on a nationwide “platform” that

  incorporates a base year (i.e., historic year) of meteorological and emissions data

  along with emissions projections for the analytic years (i.e., future year). 2016v3

  Air Quality Technical Support Document (“TSD”) at 3-7 [JA_-_]. The platform is

  used in the photochemical grid model to predict ozone concentration levels and

  ozone contributions in the future analytic years at individual monitoring sites to

  identify receptors at Step 1 and linkages at Step 2. See supra Background I.B.2.

        Of relevance here, EPA released iterations of its Step 1 and 2 modeling

  based on two different platforms. The 2011-based modeling used 2011 as the base

  year. See Disapproval at 9338. EPA made changes in response to comments it

  received on this modeling and, in October 2017, released a memorandum with data

  showing which monitoring sites were potential receptors for the 2008 ozone



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  NAAQS for the analytic year 2023. October 2017 Memo [JA_-_]. In March 2018,

  EPA issued a memorandum (“Modeling Memo”) containing final 2011-based

  modeling and showing which monitoring sites were potential receptors for the

  2015 ozone NAAQS for the analytic year 2023, along with contribution modeling

  data to “assist[]” states in developing their Good Neighbor submissions for the

  2015 ozone NAAQS. Modeling Memo at 2-6, Atts. B, C [JA_-_; _, _];

  Disapproval at 9338-39. Many states, including Utah, employed the 2011-based

  modeling in their Good Neighbor SIP submissions for the 2015 ozone NAAQS.

  See 87 Fed. Reg. 31470, 31475 (May 24, 2023) (“Proposal”).

        After years of further collaboration with states, multi-jurisdictional

  organizations, and local agencies, EPA updated its modeling platform using

  emissions inventories and data for a 2016 base year and 2023 analytical year for

  use by states and EPA for regulatory air quality modeling purposes (the “2016v1

  platform”). See Disapproval at 9339. EPA released the “2016v1” modeling and

  accepted public comment on that modeling. see id.; 86 Fed. Reg. 23054, 23078-82

  (Apr. 30, 2021).

        EPA subsequently updated the emissions inventories to incorporate

  improved data and stakeholder feedback. The resulting “2016v2” modeling was

  considered in EPA’s proposed evaluation of pending SIP submissions for the 2015

  ozone NAAQS. See Disapproval at 9339, 9343-44; 2016v2 Air Quality TSD at 1



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  [JA_]. Incorporating public comments on that modeling (including from

  Petitioners, see, e.g., RTC 154-55 [JA_-_]), EPA considered the “2016v3”

  modeling in the final Disapproval. Disapproval at 9339; see generally 2016v3 Air

  Quality TSD [JA_-_]. EPA found the 2016v3 modeling state-of-the-science and

  concluded that it performed within generally accepted model performance criteria.

  See Disapproval at 9344-45, 9366. And, recognizing that measured ozone levels

  continued to well-exceed the NAAQS at many monitoring stations through 2021

  and 2022, EPA also identified “violating monitors” as an additional class of

  receptors to which the states covered in the Disapproval, including Utah, were also

  projected to be linked in 2023. Id. at 9349. Thus, in EPA’s final analysis, Utah is

  linked to eight receptors in Colorado above 1% of the NAAQS, with contribution

  above 1 ppb at four of those receptors. 2016v3 Air Quality TSD at C-3, C-5 [JA_,

  _].

        B.     2018 Memoranda

        Accompanying the Modeling Memo, EPA included Attachment A.

  Attachment A listed potential stakeholder ideas for addressing Good Neighbor

  obligations, which EPA did not expressly endorse but on which EPA invited

  feedback. Modeling Memo, Att. A [JA_] (“EPA is not at this time making any

  determination that the ideas discussed below are consistent with the requirements

  of the [Act], nor are we specifically recommending that states use these



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  approaches.”). Attachment A also provided a set of “guiding principles” for how

  states and EPA should approach their obligations, which emphasized the

  importance of regional consistency, collaboration in addressing shared ozone

  problems, and compliance with judicial precedent. Id.

        EPA issued another memorandum in August 2018 (“1 ppb Memo”),

  providing additional information to states developing Good Neighbor SIPs for the

  2015 ozone NAAQS. The 1 ppb Memo suggested that, at Step 2, “it may be

  reasonable and appropriate for states to use a 1 ppb contribution threshold, as an

  alternative to a 1 percent [of the NAAQS] threshold.” 1 ppb Memo at 4 [JA_].

  The Memo noted that a 1 ppb contribution threshold may adequately account for

  the collective contribution nature of interstate ozone pollution, but EPA

  emphasized that regulators “should consider whether the recommendations . . . are

  appropriate for each situation,” and that “[f]ollowing these recommendations does

  not ensure” approval. 1 ppb Memo at 1 [JA_].

        C.     Utah’s Initial SIP Submission and EPA’s Finding of Failure
               to Submit

        On October 24, 2019, Utah submitted an initial SIP for the 2015 ozone

  NAAQS. See Proposal at 31475. In accordance with Section 7410(k)(1)(B), EPA

  concluded that the submission was incomplete because Utah had not certified that

  it provided an opportunity for public participation. See 84 Fed. Reg. 66612, 66614

  (Dec. 5, 2019) (“2019 Finding”) (effective Jan. 6, 2020). The 2019 Finding was


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  not challenged; it obligated EPA to promulgate a FIP within two years (by January

  6, 2022) to address the Act’s requirements, unless EPA first approved a SIP for

  Utah. Id. at 66613; 42 U.S.C. § 7410(c)(1).

        After EPA missed that statutory deadline, parties brought a mandatory duty

  suit under Section 7604(a)(2). EPA entered into a consent decree requiring it to

  promulgate a FIP for Utah by March 15, 2023, unless EPA approved a SIP by that

  date. 87 Fed. Reg. 66299 (Nov. 3, 2022); Consent Decree, Sierra Club v. Regan,

  No. 3:22-cv-01992-JD (N.D. Cal. Jan. 24, 2023), ECF No. 37.

        D.     Utah’s Second SIP Submission

        On January 29, 2020, Utah submitted a new state plan (“Submission”). Utah

  stated that it was utilizing a “weight-of-evidence” approach, which partially

  followed EPA’s 4-step framework while also invoking arguments concerning the

  alleged particularities of its emissions’ transport into Colorado. Submission at 15-

  17 [JA_-_].2 First, at Step 1, Utah identified nonattainment and maintenance

  receptors using EPA’s 2011-based modeling. Id. at 15-16 [JA_-_]. Then, at Step

  2, Utah attempted to follow the 1 ppb Memo, applying a 1 ppb threshold to identify



  2
    Generally, a weight-of-evidence approach makes use of all available sources of
  information to inform a decision while accounting for the reliability of the data.
  See Heal Utah, 2023 WL 5185608, at *3 n.6. It has been used in the Good
  Neighbor context in circumstances where high-quality air quality modeling is
  lacking or considered unreliable—such as in the case of wintertime inversion
  conditions in the Uinta Basin. See RTC at 304 [JA_]; infra Arg. III.A.

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  its linkages;3 Utah identified linkages to four projected nonattainment and

  maintenance receptors in the Denver Metro/North Front Range, Colorado

  nonattainment area (“Denver area”) above 1 ppb. Id. at 17-18 [JA_-_].

        Despite being linked under its own preferred modeling and contribution

  threshold to four receptors, Utah claimed that it need not determine whether its

  contributions were significant or interfering with maintenance of the NAAQS in

  the Denver area. First, Utah argued that the amount of collective contribution from

  upwind states at Colorado receptors is lower, and Colorado’s in-state contributions

  are higher, relative to some eastern states.4 Id. at 18-19 [JA_-_]. Second, Utah

  claimed that its contributions to Colorado receptors are lower than non-

  anthropogenic (e.g., wildfires or biogenic emissions) and international (e.g.,

  emissions emanating from Mexico and Canada) sources to Colorado. Id. at 19-20

  [JA_-_]. Third, Utah argued that emissions reductions already achieved since 2011


  3
   Alabama, Arkansas, Illinois, Indiana, Kentucky, Louisiana, Michigan,
  Mississippi, Missouri, Nevada, Ohio, and Oklahoma also cited the 1 ppb Memo in
  applying a 1 ppb contribution threshold at Step 2. Disapproval at 9373 n.311.
  4
   Arkansas, California, Indiana, Kentucky, Louisiana, Michigan, Missouri, Ohio,
  Oklahoma, and Texas also referenced, in varying degrees of detail, their
  contributions relative to contributions from downwind states and other sources to
  support their argument that they have no Good Neighbor obligations. 87 Fed. Reg.
  9798, 9805, 9812, 9818, 9833 (Feb. 22, 2022) (Arkansas, Louisiana, Oklahoma,
  Texas); 87 Fed. Reg. 31443, 31460 (May 24, 2022) (California); 87 Fed. Reg.
  9838, 9847-48, 9851 (Feb. 22, 2022) (Indiana, Michigan and Ohio); 87 Fed. Reg.
  9498, 9505-06 (Feb. 22, 2022) (Kentucky); 87 Fed. Reg. 9533, 9539 (Feb. 22,
  2022) (Missouri).


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  and expected to occur through 2023 were sufficient to avoid the need for further

  emissions reductions.5 Id. at 20-22 [JA_-_].

        E.     EPA’s Disapproval

        On February 22, 2022, EPA proposed to disapprove 19 states’ SIP

  submissions.6 On May 24, 2022, EPA proposed to disapprove an additional four

  states’ plans, including Utah’s. Proposal at 31470.7 In reviewing submissions,

  EPA considered each state’s SIP on its own merits. See Disapproval at 9354,

  9360. EPA evaluated modeling, methodologies, and analyses submitted by states

  and did not disapprove any state through rote application of the 4-step framework.

  Id. at 9338. Nonetheless, EPA assessed all submissions with an eye toward

  ensuring national consistency in determining whether states adequately justified

  that they should have no Good Neighbor obligations, to ensure all states did their

  fair share to address a collective contribution problem. Id. at 9354, 9381.


  5
   Numerous states, including Alabama, Arkansas, California, Kentucky, Maryland,
  New Jersey, New York, and Oklahoma, also similarly made vague assertions,
  without adequate support, that existing or future controls would be sufficient to
  address any Good Neighbor obligations. See Disapproval at 9354-59.
  6
   See 87 Fed. Reg. 9463 (Maryland); 87 Fed. Reg. 9484 (New Jersey, New York);
  87 Fed. Reg. 9498 (Kentucky); 87 Fed. Reg. 9516 (West Virginia); 87 Fed. Reg.
  9533 (Missouri); 87 Fed. Reg. 9545 (Alabama, Mississippi, Tennessee); 87 Fed.
  Reg. 9798 (Arkansas, Louisiana, Oklahoma, Texas); 87 Fed. Reg. 9838 (Illinois,
  Indiana, Michigan, Minnesota, Ohio, Wisconsin).
  7
   See also 87 Fed. Reg. 31443 (California); 87 Fed. Reg. 31485 (Nevada); 87 Fed.
  Reg. 31495 (Wyoming).


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          In assessing Utah’s Submission, at Step 1, EPA agreed that Utah was linked

  to Colorado receptors. Proposal at 31479; Disapproval at 9351-52, 9360. At Step

  2, EPA found that Utah had not adequately supported its use of a 1 ppb threshold

  but concluded that even under Utah’s chosen 1 ppb contribution threshold, Utah

  was linked to downwind receptors. Proposal at 31478-79; Disapproval at 9360,

  9373.

          EPA then evaluated each of Utah’s arguments for not proceeding to evaluate

  its emissions for significant contribution or interference with maintenance at

  downwind receptors. Proposal at 31479-83; Disapproval at 9360. First, consistent

  with EPA’s prior findings that ozone problems in the Denver area partially result

  from collective upwind-state contribution, EPA disagreed that Utah did not impact

  Denver’s air quality.8 Proposal at 31481. Likewise, EPA explained that

  contributions from Colorado, non-anthropogenic sources, and international sources

  to the same receptors to which Utah is linked do not absolve Utah of its own Good

  Neighbor obligations.9 Id. at 31482; Disapproval at 9378-79. Finally, EPA

  deemed inadequate Utah’s conclusory assertions about current and future


  8
    EPA reached the same conclusion regarding the nature of the ozone problem in
  the Denver area in assessing California’s and Texas’s submissions. 87 Fed Reg. at
  31453 (California); 87 Fed. Reg. at 9833 (Texas).
  9
   EPA reached the same conclusion regarding analogous arguments from Arkansas,
  California, Indiana, Kentucky, Louisiana, Michigan, Missouri, Ohio, Oklahoma,
  Texas, and West Virginia. See Disapproval at 9378-79.


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  emissions reductions resulting from preexisting requirements, as these emissions

  were already accounted for in EPA’s updated modeling, which showed that Utah

  still contributes to air quality problems in the Denver area, despite those controls.10

  Proposal at 31483; RTC at 455-57, 459-62 [JA_-_, _-_].

           EPA finalized its disapproval of Utah’s Submission on January 31, 2023,

  along with 20 other SIP submissions that had similar inadequacies, each failing,

  despite at least one confirmed linkage to an out-of-state receptor, to include a

  technically and legally acceptable analysis to support its conclusion that its

  contributions to linked receptors was not significant. See Disapproval at 9343.

  EPA’s updated modeling and monitoring data confirmed its proposed bases for

  disapproving these 21 states. See id. at 9343-54. In finalizing the reasoning

  outlined in its proposals, EPA responded to numerous issues raised in comments

  common to multiple states. See, e.g., id. at 9370-75 (Step 2 contribution

  threshold), 9378 (international contribution), 9378-79 (western state policy). And

  EPA noted that its disapproval of Utah’s Submission was consistent with its prior

  action partially disapproving Utah’s Good Neighbor SIP for the less protective

  2008 ozone NAAQS in 2016. Id. at 9378 n.332.




  10
       See supra n.5.


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         F.    EPA’s FIP

         In compliance with its consent decree deadline to promulgate a FIP for Utah

  (and Pennsylvania and Virginia), EPA signed and issued the Good Neighbor Plan

  on March 15, 2023. See Sierra Club, No. 3:22-cv-01992-JD, ECF No. 37. The

  Good Neighbor Plan promulgated an integrated set of FIP requirements for 23

  states, including Utah. 88 Fed. Reg. 36654 (June 5, 2023). The Good Neighbor

  Plan was published in the Federal Register on June 5, 2023, and became effective

  on August 4, 2023. Id.

  III.   Procedural Background

         Numerous states and interested parties have challenged the Disapproval.11

  Several petitioners in this and other courts moved to stay the Disapproval, and

  merits briefing is proceeding at different paces.




  11
    Utah v. EPA, Nos. 23-1102, 23-1103, 23-1105, 23-1106, 23-1107, 23-1112, 23-
  1113, 23-1115 (D.C. Cir.) (consolidated cases); West Virginia v. EPA, No. 23-1418
  (4th Cir.); Texas v. EPA, No. 23-60069 (5th Cir.); Kentucky v. EPA, Nos. 23-3216,
  23-3225 (6th Cir.) (consolidated cases); Arkansas v. EPA, No. 23-1320 (8th
  Cir.); Sw. Elec. Power Co. v. EPA, No. 23-1765 (8th Cir.); Ark. League of Good
  Neighbors v. EPA, No. 23-1778 (8th Cir.); Hybar LLC v. EPA, No. 23-1777 (8th
  Cir.); Missouri v. EPA, No. 23-1719 (8th Cir.); Union Elec. Co. v. EPA, No. 23-
  1751 (8th Cir.); City Utils. of Springfield v. EPA, No. 23-1774 (8th Cir.); Allete,
  Inc., v. EPA, No. 23-1776 (8th Cir.); Nevada Cement Co. v. EPA, No. 23-682 (9th
  Cir.); Oklahoma v. EPA, Nos. 23-9514, 23-9521, 23-9533, 23-9534 (10th Cir.)
  (consolidated cases); Wyoming v. EPA, Nos. 23-9529, 23-9531, 23-9537 (10th
  Cir.) (consolidated cases); Alabama v. EPA, Nos. 23-11173, 23-11196 (11th Cir.)
  (consolidated cases).


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        Here, Petitioners moved to stay the Disapproval as to Utah pending judicial

  review, and EPA moved to transfer venue to the D.C. Circuit. See, e.g., Utah, No.

  23-9509, ECF Nos. 10981771, 10983793. This Court abated the stay motion

  pending resolution of EPA’s venue motion. Id. ECF No. 10984086. Thereafter,

  the Court referred the venue question to the merits panel and consolidated all Utah-

  related petitions. Id. ECF Nos. 10994985, 11002290. Most recently, the Court

  stayed the Disapproval as it relates to Utah pending judicial review, stating in its

  Order that EPA’s FIP authority derives from the Disapproval. Id. ECF No.

  11016742 (“Stay Order”). To comply with the Court’s Stay Order, EPA is

  preparing a rulemaking to preserve the status quo pending judicial review. Memo,

  Notice of Forthcoming EPA Action to Address Judicial Stay Orders (Aug. 2,

  2023), https://perma.cc/HYD6-U4PX.

                             SUMMARY OF ARGUMENT

        1.     The D.C. Circuit is the exclusive venue for petitions for review of the

  Disapproval under the Act’s venue provision, 42 U.S.C. § 7607(b)(1). The

  Disapproval is either (a) “nationally applicable,” because it applies to 21 states

  spanning eight EPA regions and ten federal judicial circuits and EPA utilized a

  nationally consistent framework to evaluate and ultimately disapprove Good

  Neighbor SIP submissions, or (b) if locally or regionally applicable, is based on

  multiple determinations of “nationwide scope or effect” made and published by



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  EPA. This Court should therefore transfer the petitions for review to the D.C.

  Circuit or dismiss them.

        2.     If this Court determines venue is proper here, the petitions for review

  of the Disapproval should be denied. EPA lawfully disapproved Utah’s

  Submission. Under the Act’s cooperative federalism framework, EPA exercises a

  critical oversight role in independently evaluating all SIPs to ensure they meet the

  Act’s requirements. Petitioners’ interpretation of EPA’s SIP review authority

  generally, and of the Good Neighbor Provision specifically, diverges from the

  history, text, and structure of the Act, binding case law in this Court, and EPA’s

  longstanding approach to evaluating SIPs for compliance with the Act’s

  requirements.

        3.     EPA’s grounds for disapproval were lawful and based on the whole

  record before the Agency. Utah relied on modeling and methodology that showed

  emissions from the State contributes to receptors in downwind states. However,

  Utah relied on technically and legally deficient arguments to avoid its statutory

  obligation to evaluate whether its contributions to Colorado are significant. The

  Submission could not support Utah’s claim that its sources have no responsibility

  to reduce their emissions to meet Good Neighbor obligations for the 2015 ozone

  NAAQS. For this reason, and consistent with EPA’s treatment in evaluating Good




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  Neighbor submissions from other western states and past submissions from Utah,

  EPA reasonably disapproved Utah’s Submission.

        4.     In disapproving Utah’s Submission, EPA did not move the goalposts

  on Utah or otherwise disrupt any reliance interest it had. Even under Utah’s

  chosen 1 ppb contribution threshold and 2011-based modeling—which Utah

  contends it included in its Submission because of EPA’s Memos and feedback—

  Utah contributed to downwind ozone problems in Colorado and was required to

  assess the significance of that contribution. And EPA provided Petitioners with

  ample opportunity to comment on EPA’s proposed disapproval of Utah’s SIP and

  met all procedural requirements.

        5.     EPA’s 2016v3 modeling merely confirmed EPA’s evaluation of

  Utah’s Submission on its merits and was not itself necessary to the Disapproval.

  Regardless, the 2016v3 modeling met performance criteria, performing as well as,

  if not better than, Colorado’s modeling, taking into account Colorado- and

  western-specific factors. EPA thoroughly considered and provided record

  responses to all issues Petitioners raise with respect to EPA’s up-to-date modeling.

  It was therefore reasonable for EPA to use its 2016v3 to aid its evaluation of

  Utah’s Submission.

        6.     If the Court concludes that remand is appropriate, it should limit its

  relief to the Disapproval action before the Court, as EPA has independent authority



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  to enforce the Good Neighbor Plan as to sources in Utah based on its 2019 Finding

  of Failure to Submit. Additionally, the Court should remand without vacatur, as

  EPA’s lawful bases for its Disapproval could easily be substantiated on remand.

  Failure to do so (especially if the Court disagrees that EPA has independent

  authority to continue to enforce the Good Neighbor Plan absent the Disapproval)

  further delays Utah’s compliance with its Good Neighbor obligations and disrupts

  the implementation of EPA’s Good Neighbor Plan.

                               STANDARD OF REVIEW

        The Administrative Procedure Act (“APA”) standard of review applies here.

  Alaska Dep’t of Env’t Conservation v. EPA, 540 U.S. 461, 496-97 (2004) (“Alaska

  DEC”); Oklahoma, 723 F.3d at 1211. EPA’s final action must be upheld so long

  as it is not “arbitrary, capricious, an abuse of discretion, or otherwise not in

  accordance with law.” Heal Utah, 2023 WL 5185608, at *8 (quoting 5 U.S.C.

  § 706(2)(A)).

        The familiar arbitrary-and-capricious standard is a narrow and deferential

  one that prohibits the Court from substituting its judgment for that of the Agency.

  Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

  (1983). The Court must consider whether EPA’s decision “was based on a

  consideration of the relevant factors and whether there has been a clear error of

  judgment.” Bowen Transp., Inc. v. Ark.-Best Freight Sys., Inc., 419 U.S. 281, 285



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  (1974) (quotation omitted). “Even when an agency explains its decision with less

  than ideal clarity, a reviewing court will not upset the decision on that account if

  the agency’s path may reasonably be discerned.” Oklahoma, 723 F.3d at 1211

  (10th Cir. 2013) (quoting Alaska DEC, 540 U.S. at 497).12

        Under this standard, the Court reviews EPA’s actions on SIPs for adherence

  to the Act, respecting the discretion afforded to states within the Act’s

  “cooperative-federalism approach,” while also respecting EPA’s obligation to

  substantively and carefully review each SIP for compliance with the Act.

  Wyoming, 2023 WL 5214083, at *4, *6. Furthermore, EPA’s factual findings are

  entitled to substantial deference, see Arkansas v. Oklahoma, 503 U.S. 91, 113

  (1992), and should be upheld so long as they are supported by the administrative

  record, even if the record could also support alternative findings, WildEarth

  Guardians v. EPA, 770 F.3d 919, 927 (10th Cir. 2014). Particular deference is

  given “[w]hen an agency acts under an unwieldy and science-driven statutory



  12
     Although this Court stated in Oklahoma that EPA has less discretion when
  disapproving a SIP than when promulgating a FIP, see 723 F.3d at 1213 n.7, that
  statement merely reflects that EPA must disapprove a SIP if it is inconsistent with
  the CAA and regulations, while EPA has more flexibility in developing a FIP. See
  Wyoming v. EPA, No. 14-9529, --- F.4th ----, 2023 WL 5214083, at *4 (10th Cir.
  Aug. 15, 2023) (“The EPA ‘has less discretion when it . . . reject[s] a SIP than it
  does when it promulgates a FIP,’ because the EPA has a statutory duty to
  implement a sufficient plan if a state fails to do so.” (internal citations omitted)). It
  is not an indication that the standard of judicial review is something other than the
  familiar arbitrary-and-capricious standard.


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  scheme like the Clean Air Act,” in which case courts “afford the agency particular

  deference.” Id. (cleaned up); see also Heal Utah, 2023 WL 5185608, at *8 (“[O]ur

  deference to the agency is especially strong when the challenged decisions involve

  technical or scientific matters within the agency’s area of expertise.”) (quotation

  omitted). Accordingly, this Court affords EPA deference to its reasonable,

  technical determinations when evaluating SIPs. Id. at *8-11; Oklahoma, 723 F.3d

  at 1204.

                                     ARGUMENT

  I.    Venue Lies Exclusively in the D.C. Circuit.

        Any challenge to the Final Rule belongs in the D.C. Circuit and dismissal or

  transfer is appropriate. The Act establishes exclusive venue in the D.C. Circuit to

  review two categories of EPA actions: those that are “nationally applicable,” and

  those that are “locally or regionally applicable” but “based on a determination of

  nationwide scope or effect” made and published by EPA. 42 U.S.C. § 7607(b)(1).

  The Disapproval clearly falls within either of these categories and therefore can be

  challenged only in the D.C. Circuit. The petitions should be transferred there or

  dismissed.

        A.     The Disapproval is Nationally Applicable.

        A petition for review that challenges a “nationally applicable” action under

  the Act may be filed “only in the United States Court of Appeals for the District of



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  Columbia.” Id. (emphasis added). Whether an action is “nationally applicable” is

  a narrow inquiry based on the “face of [the] rule, rather than [its] practical effect.”

  ATK Launch Sys., Inc. v. EPA, 651 F.3d 1194, 1197 (10th Cir. 2011). The inquiry

  turns on the nature of the action, not the nature of a petitioner’s challenge. Id.; see

  also S. Ill. Power Coop. v. EPA, 863 F.3d 666, 670 (7th Cir. 2017); RMS of Ga.,

  LLC v. EPA, 64 F.4th 1368, 1372-73 (11th Cir. 2023). On its face, the Disapproval

  is nationally applicable, applying to SIP submissions from 21 states across the

  country, spanning eight of the ten EPA regions and ten federal judicial circuits.

  Disapproval at 9380. EPA also used a nationally consistent analytical framework

  to evaluate all 21 submissions. Id.

        In ATK Launch Systems, this Court concluded that a similar action, where

  EPA addresses multiple states in a single rule, was nationally applicable. 651 F.3d

  at 1200. ATK Launch Systems involved a statutory requirement that EPA evaluate

  each state’s recommended nonattainment designations and promulgate final

  designations. Id. at 1195. EPA did so in one action, designating 31 areas in 18

  states across the country as nonattainment areas. Id. at 1197. The petitioner

  brought suit in this Court, arguing that EPA’s “case-by-case consideration of areas

  and boundaries transforms a national standard to a regional or local rule.” Id. at

  1198. This Court rejected these arguments, noting that “EPA’s listing of the

  designations applied to each locality does not . . . constitute a mere amalgamation



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  of numerous local actions into a single rule,” concluding instead that the action

  was nationally applicable and can only be challenged in the D.C. Circuit. Id. at

  1200. Highlighting the “uniform process and standard” that EPA utilized to

  designate nonattainment areas across the country, this Court noted that “[a]ll of

  these standards and methodologies are part of EPA’s nationwide approach to

  giving content to the Clean Air Act’s mandate that nonattainment designations be

  assigned to areas that contribute to a nearby NAAQS violation.” Id. at 1197, 1198.

        Similarly, in the Disapproval, EPA evaluated each state’s submission and

  technical rationales on their merits. Disapproval at 9354. EPA explained that

  ozone transport presents a “collective contribution” challenge in which many

  contributors across a broad region combine to generate a downwind air quality

  problem. Id. at 9342. So, given the “interdependent nature of interstate pollution

  transport,” EPA utilized “a uniform legal interpretation and common, nationwide

  analytical methods” to avoid “inconsistent or inequitable results among upwind

  states . . . and between upwind and downwind states.” Id. at 9380-81. While EPA

  acknowledged states could potentially substantiate alternative methodologies to its

  4-step framework, EPA employed “a consistent set of policy judgments across all

  states for purposes of evaluating interstate transport obligations” to evaluate and

  ultimately disapprove all 21 states’ submissions. Id. at 9339.




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        The figure below shows the 21 states whose plans EPA disapproved (colored

  green) for failing to comply with the Good Neighbor Provision:




  That the Disapproval “reaches geographic areas from coast to coast” is “a strong

  indicator that the regulation is nationally applicable.” ATK Launch Sys., 651 F.3d

  at 1197.

        It makes no difference that Petitioners purport to challenge the alleged

  effects of the Disapproval only as to Utah. See Utah Br. 19. The question here is

  whether the “action” itself is “nationally applicable,” 42 U.S.C. § 7607(b)(1), not

  whether the nature and scope of the arguments raised or relief sought are nationally

  applicable. ATK Launch Sys., 651 F.3d at 1197; RMS of Ga., 64 F.4th at 1372-73;

  see also S. Ill. Power Coop., 863 F.3d at 668 (finding venue proper in the D.C.

  Circuit of an action affecting 61 geographic regions across 24 states and overruling

  prior circuit precedent that improperly focused on the localized nature of


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  petitioners’ claims in doing so). A contrary approach to national applicability

  would needlessly complicate the venue analysis and create difficult line-drawing

  problems. See NRDC v. Thomas, 838 F.2d 1224, 1249 (D.C. Cir. 1988).

        Recently, divided Fifth and Sixth Circuit motions panels concluded that

  “[t]he relevant unit of administrative action here is the EPA’s individual SIP

  denials” for each of the states. Order, Texas v. EPA, No. 23-60069 (5th Cir. May

  1, 2023), ECF No. 269-1, at 9 (“Texas Order”); see also Order, Kentucky v. EPA,

  No. 23-3216 (6th Cir. July 25, 2023), ECF No. 39-2, at 5 (“Kentucky Order”). But

  see Texas Order at 25-28 (Douglas, J., dissenting) (finding the Disapproval

  nationally applicable and opining that the panel’s ruling conflicts with in-circuit

  precedent as well as precedents of sister circuits, including precedent from this

  Court); Kentucky Order at 11 (Cole, J., dissenting) (“[L]imiting the ‘action’ to

  Kentucky’s state-specific challenge is inappropriate.” (citing Thomas, 838 F.2d at

  1249)).

        These orders are not binding on merits panels of those courts, let alone this

  Court. See Texas Order at 24; Rife v. Jefferson, 742 F. App’x 377, 386 (10th Cir.

  2018) (“[T]he decisions of one circuit court of appeals are not binding upon

  another circuit.” (quoting Garcia ex rel. Garcia v. Miera, 817 F.2d 650, 658 (10th

  Cir. 1987))). Additionally, the orders conflict with Section 7607(b)(1)’s text,

  which bases venue on the nature of EPA’s final action. Nothing in the Act



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  constrains EPA to acting on SIP submissions individually. Cf. Utah Br. 22-24

  (contrasting Disapproval with EPA’s prior SIP actions). Applying such a

  requirement “would violate the very basic tenet of administrative law that agencies

  should be free to fashion their own rules of procedure.” Perez v. Mortg. Bankers

  Ass’n, 575 U.S. 92, 102 (2015) (cleaned up). Indeed, it was reasonable for EPA to

  take a single final action disapproving multiple SIPs under the Good Neighbor

  Provision, where the evidence shows that there are many complex, interwoven, and

  overlapping linkages between and among states.13

        Furthermore, the orders also conflict with this Court’s holding in ATK

  Launch Systems, the Seventh Circuit’s holding in Southern Illinois Power, and

  other cases that have addressed the “nationally applicable” provision of Section

  7607(b)(1). Like the actions at issue in those cases, EPA’s Disapproval evaluated

  submissions from states located across the country, utilizing “uniform legal

  interpretation and common, nationwide analytical methods.” Disapproval at 9380;

  see also ATK Launch Sys., 651 F.3d at 1200; S. Ill. Power, 863 F.3d at 671; cf.

  Sierra Club v. EPA, 926 F.3d 844, 849 (D.C. Cir. 2019) (finding locally or

  regionally applicable an EPA order addressing “a single permit for a single plant


  13
    Notably, the D.C. Circuit is the only circuit court that has decided challenges to
  EPA’s actions on Good Neighbor SIPs. See Westar, 608 F. App’x 1 (reviewing
  EPA’s action on Kansas’s Good Neighbor SIP); EME Homer City Gen., L.P., 795
  F.3d at 132-36 (reviewing EPA’s error correction of 22 Good Neighbor SIP
  approvals).

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  located in a single state”); Dalton Trucking, Inc. v. EPA, 808 F.3d 875, 881 (D.C.

  Cir. 2015) (finding locally or regionally applicable an EPA action “limited to fleets

  operating in California”). The Disapproval is therefore nationally applicable.

        Petitioners claim their challenges belong in this Court because “approving or

  promulgating a [SIP]” is “the prototypical ‘locally or regionally applicable’

  action.” Utah Br. 18, 19-20. But the authorities Petitioners favorably cite are

  distinguishable, involving challenges to actions affecting a single state. See Am.

  Rd. & Transp. Builders Ass’n v. EPA, 705 F.3d 453, 455 (D.C. Cir. 2013)

  (challenge to EPA action on a single SIP from one state); Chevron, U.S.A., Inc. v.

  EPA, 45 F.4th 380, 386 (D.C. Cir. 2022) (challenge to EPA letter addressing two

  oil and gas platforms located off the coast of California). Moreover, the legislative

  history of Section 7607(b)(1) “indicates that [the phrase ‘action in approving or

  promulgating a SIP’] was intended to apply only to review of the approval or

  promulgation of implementation plans which run only to one air quality control

  region.” Texas v. EPA, No. 10-60961, 2011 WL 710598, at *4 (5th Cir. Feb. 24,

  2011) (unpublished) (“Texas 2011”) (quotation omitted). The Disapproval, by

  contrast, directly applies to 21 states located across the country.

        Petitioners are also incorrect to suggest that the Regional Administrator’s

  signature on EPA’s proposal to disapprove Utah’s SIP is somehow relevant to

  venue. Utah Br. 22-23. The action being challenged here is not the Proposal but



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  the final Disapproval. That action was signed by the EPA Administrator.

  Disapproval at 9381.

        By petitioning for review in this Court, Petitioners invite multiple circuits to

  review concurrently the merits of the same legal interpretation, policy decisions,

  and analytical methodology that EPA utilized in a consistent manner, in a single

  action, to evaluate submissions from states across the country. In doing so, courts

  may well reach inconsistent outcomes on the lawfulness of that action. This is

  precisely the result that Congress sought to avoid in enacting Section 7607(b)(1).

  See NRDC v. EPA, 512 F.2d 1351, 1357 (D.C. Cir. 1975) (Bazelon, J., concurring

  in part) (explaining that by vesting the D.C. Circuit with exclusive review of

  nationally applicable actions, Congress sought “to ensure uniformity in decisions

  concerning issues of more than purely local or regional impact”); Texas 2011, 2011

  WL 710598, at *4.

        In sum, the Disapproval is nationally applicable and challenges to it may be

  filed only in the D.C. Circuit.

        B.     EPA Properly Found and Published that the Disapproval is
               Based on Determinations of Nationwide Scope or Effect.

        Alternatively, venue lies in the D.C. Circuit because the Disapproval is

  based on several determinations of “nationwide scope or effect” made and

  published by EPA. Disapproval at 9380-81.




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        A locally or regionally applicable action must be challenged only in the D.C.

  Circuit if (1) the action is “based on a determination of nationwide scope or effect”

  and (2) “the Administrator finds and publishes that such action is based on such a

  determination.” 42 U.S.C. § 7607(b)(1). No one disputes that EPA satisfied the

  second prong by making and publishing the requisite finding, Disapproval at 9380-

  81, which is committed to EPA’s discretion by law and is unreviewable, see Texas

  v. EPA, 983 F.3d 826, 834-35 (5th Cir. 2020). So, the only question here is

  whether the “action” being challenged is “based on a determination of nationwide

  scope or effect.” The answer is yes.

        The Fifth Circuit has observed that “[t]he ‘action’ is the rule or other final

  action taken by the agency that the petitioner seeks to prevent or overturn.” Texas

  v. EPA, 829 F.3d 405, 419 (5th Cir. 2016) (“Texas 2016”). Here, the “action” in

  question is the Disapproval.14 Although not binding on this Court, the Fifth Circuit

  has also elaborated on the meaning of the “determinations” that the challenged

  action is “based on”: “determinations” are (1) “the justifications the agency gives

  for the action,” which “can be found in the agency’s explanation of its action;” and

  (2) “those that lie at the core of the agency action,” not determinations that are


  14
    Although Utah is manifestly incorrect that the at-issue EPA “action” is EPA’s
  disapproval of Utah’s SIP, see Utah Br. 18, 19-20, accepting Utah’s framing does
  not alter this Court’s inquiry because both the Disapproval as a whole and EPA’s
  disapproval of Utah’s SIP were based on multiple determinations of nationwide
  scope or effect.

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  “peripheral or extraneous.” Id. “Determinations are not of nationwide scope or

  effect if they are ‘intensely factual determinations’ such as those ‘related to the

  particularities of the emissions sources in’” the subject states. Texas v. EPA, 706

  F. App’x 159, 165 (5th Cir. 2017) (quoting Texas 2016, 829 F.3d at 421).

        EPA was clear that the Disapproval is based on multiple determinations of

  nationwide scope or effect. See RTC 392 [JA_] (identifying determinations of

  nationwide scope or effect, discussed in the Disapproval at 9361-79). For

  example, EPA determined that: (1) use of any alternative contribution threshold at

  Step 2 must be adequately justified, and neither reliance on EPA’s 1 ppb Memo

  nor reliance on EPA’s guidance on “significant impact levels” (SIL) for the

  prevention of significant deterioration (PSD) permitting program provided

  adequate justification, Disapproval at 9372-74;15 and (2) states are not excused

  from eliminating their significant contribution to downwind receptors merely

  because international, non-anthropogenic, or other states’ emissions also contribute




  15
     See also Disapproval at 9354-60, 9373 (identifying state failure to support use of
  alternative contribution threshold as basis for disapproving submissions from
  Alabama, Arkansas, Illinois, Indiana, Kentucky, Michigan, Mississippi, Missouri,
  Nevada, Ohio, Oklahoma, and Utah).


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  some amount of pollution to the same receptors, id. at 9378-79; RTC at 460-62

  [JA_-_].16 These are just two examples of many. See Disapproval at 9361-79.

        None of these determinations is “related to the particularities of the

  emissions sources” in specific states. Texas 2016, 829 F.3d at 421. To the

  contrary, these determinations reflect EPA’s nationwide policy judgments and

  analyses on interstate ozone transport, which EPA appropriately applied uniformly

  across the covered states to avoid inconsistent or inequitable results. Disapproval

  at 9380-81. These determinations are justifications that “lie at the core of” the

  Disapproval and “can be found in the agency’s explanation of its action.” Texas

  2016, 829 F.3d at 419. EPA therefore reasonably found and published that the

  Disapproval is “based on a determination of nationwide scope or effect.”

  Disapproval at 9380-81; see also Kentucky Order at 16-18 (Cole, J., dissenting)

  (identifying multiple “core” determinations of nationwide scope or effect in the

  Disapproval, while recognizing EPA’s individualized assessment of each

  submission).

        The legislative history of the “nationwide scope or effect” provision evinces

  clear congressional intent to centralize review of national SIP issues in the D.C.



  16
    See also Disapproval at 9355-60 (disagreeing with claims about other
  contributing sources as basis for disapproving submissions from Arkansas,
  California, Illinois, Indiana, Kentucky, Michigan, Ohio, Oklahoma, Utah, and
  West Virginia).


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  Circuit and a recognition that, although SIP actions “usually involve issues

  peculiar to the affected States, such actions sometimes involve generic

  determinations of nationwide scope or effect.” 41 Fed. Reg. 56767, 56768-69

  (Dec. 30, 1976); see also Texas 2011, 2011 WL 710598, at *4 (citing same

  legislative history and noting that “[c]entralized review of national issues is

  preferable to piecemeal review of national issues in the regional circuits, which

  risks potentially inconsistent results”). Consistent with this congressional intent,

  the D.C. Circuit has recognized that EPA’s decision to direct challenges on matters

  of national importance to the D.C. Circuit should be reviewed under a highly

  deferential standard. See Nat’l Env’t Dev. Ass’n’s Clean Air Project v. EPA, 891

  F.3d 1041, 1053 (D.C Cir. 2018) (Silberman, J., concurring); Alcoa, Inc. v. EPA,

  No. 04-1189, 2004 WL 2713116, at *1 (D.C. Cir. Nov. 24, 2004) (unpublished).

        Consistent and unified implementation of the Good Neighbor Provision is

  particularly important. To safeguard the health and welfare of millions of people

  nationwide living in areas of unacceptably high ozone, the Good Neighbor

  Provision requires states and EPA to ensure that states’ emissions do not

  significantly contribute to or interfere with maintenance of air quality problems in

  other states. EME Homer, 572 U.S. at 495-96. Given the Good Neighbor

  Provision’s interstate focus and the broad geographic scale associated with the

  transport of ozone pollution in particular—which can travel “hundreds or



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  thousands of miles away,” Disapproval at 9372—EPA’s evaluation in the

  Disapproval of states’ Good Neighbor submissions for the 2015 ozone NAAQS

  considered complex, interwoven, and overlapping linkages between and among

  multiple states across the country, as illustrated below.17




        The concurrent petitions for review of the Disapproval in eight regional

  courts of appeals underscore the potential for inconsistent results if litigation

  proceeds in regional courts. Take the examples above. Petitioners here argue that



  17
    EPA, Interstate Pollution Linkages Under the Good Neighbor Plan, available at
  https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs#maps.




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  the Disapproval should be set aside for Utah because: (1) EPA arbitrarily rejected

  the alternative 1 ppb contribution threshold Utah applied at Step 2, Utah Br. 44;

  Indus. Br. 34-35, and (2) EPA arbitrarily rejected claims regarding the relevance of

  other contributing emissions sources, Utah Br. 44-45; Indus. Br. 24. Other

  petitioners challenging the Disapproval in multiple regional circuits also challenge

  (1) EPA’s contribution threshold determinations, see, e.g., Oklahoma, 23-9514

  (10th Cir.), ECF No. 11013681 at 41-43, 50-53; Texas, 23-60069 (5th Cir.), ECF

  Nos. 335 at 25-29 (Miss.), 332 at 35-36 (La.), 328 at 26-28 (Tex.); Missouri, 23-

  1719 (8th Cir.), ECF No. 5304774 at 28-29; Allete, 23-1776 (8th Cir.) ECF No.

  5305346 at 17; and (2) EPA’s determination that other contributing emissions

  sources do not excuse states from their Good Neighbor obligations, see, e.g., Ark.

  League of Good Neighbors, 23-1778 (8th Cir.), ECF No. 5305660 at 36-37.18

  Likewise, Petitioners concede EPA’s determinations regarding the relevance of

  comparing an upwind state’s emissions to other sources in determining

  significance, which is at issue here, see infra Arg. III.B., are at play in other

  circuits where the Disapproval has been challenged. See Indus. Br. 24 n.8 (citing




  18
    EPA highlights examples from the Fifth and Eighth Circuits because it has
  reviewed petitioners’ opening merits briefs in these courts. Based on the stay
  motions, it is likely the same or similar arguments will be presented to the Fourth,
  Sixth, Ninth, and Eleventh Circuits as well. See, e.g., Nevada Cement, 23-682 (9th
  Cir.), ECF No. 9 at 15-16 (citing wildfire and international emissions).

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  Arkansas v. EPA, 23-1320 (8th Cir.)). Clearly, litigation in the regional circuits

  may lead to conflicting rulings on matters of nationwide consequence.

        It is easy to envision a scenario where some upwind states are required to

  reduce their emissions under the Good Neighbor Provision for the 2015 ozone

  NAAQS while others are not, based on the judicial circuit where they challenge the

  Disapproval. This high risk of inconsistent results on determinations that pertain to

  the Good Neighbor obligations of 21 states with downwind impacts spanning coast

  to coast bolsters EPA’s finding that the Disapproval is based on multiple

  determinations of nationwide scope or effect, a finding that is entitled to deference.

        The reasoning of the Fifth and Sixth Circuit motions panels’ unpublished

  orders—that the SIP disapprovals at issue “were plainly based on a number of

  intensely factual determinations unique to each State,” Texas Order at 11

  (quotation omitted); see also Kentucky Order at 5-6—appears to rest on the

  assumption that Section 7607(b)(1) allows EPA to direct challenges to locally or

  regionally applicable actions to the D.C. Circuit only when they are “based solely

  on” a determination (or determinations) of nationwide scope or effect.19 But that is

  not the language of the statute. Where Congress intended such a limitation, it has



  19
    Petitioners’ argument that “the core determination” underlying the action “was
  that sources located within Utah contribute to nonattainment and interfere with
  maintenance of the 2015 ozone NAAQS in the Denver, Colorado area” likewise
  makes the same assumption. See Utah Br. 24-26 (cleaned up).


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  stated it explicitly. See, e.g., 42 U.S.C. § 7607(b)(1) (“Any petition for review

  under this subsection shall be filed within sixty days from the date notice of such

  promulgation, approval, or action appears in the Federal Register, except that if

  such petition is based solely on grounds arising after such sixtieth day, then any

  petition for review under this subsection shall be filed within sixty days after such

  grounds arise.” (emphasis added)). Congress did not include such narrowing

  language in Section 7607(b)(1)’s venue provisions.

        These orders (as well as Petitioners’ argument) essentially read the venue

  exception in Section 7607(b)(1) entirely out of the statute. All “locally or

  regionally applicable actions” invariably are based, to some extent, on factual

  determinations that are unique to the relevant locality. If EPA can never invoke

  the venue exception when the action is based, even in part, on unique facts and

  circumstances, then EPA’s finding that a “locally or regionally applicable action”

  is “based on a determination of nationwide scope or effect” will never suffice to

  direct challenges to the D.C. Circuit. Thus, not only do these motions panel orders

  “gut” Congress’s decision to centralize judicial review in the D.C. Circuit on issues

  of national import, Texas Order at 29 (Douglas, J., dissenting), they also render

  meaningless the discretion Section 7607(b)(1) grants EPA to “find[] and publish[]”

  that a locally or regionally applicable action is based on a determination of

  nationwide scope or effect, thus flouting the interpretive canon against surplusage,



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  see Nielsen v. Preap, 139 S. Ct. 954, 969 (2019) (“[E]very word and every

  provision is to be given effect and [none] should needlessly be given an

  interpretation that causes it to duplicate another provision or to have no

  consequence.”) (cleaned up); see also Kentucky Order at 17 (Cole, J., dissenting).

        In sum, applying the only reasonable construction of the Act’s text, purpose,

  and history, this Court should transfer the petitions for review of the Disapproval

  to the D.C. Circuit or dismiss the petitions for improper venue.

  II.   EPA Acted Within its Statutory Authority.

        In Petitioners’ view, because a state has the authority to develop a SIP, EPA

  cannot second guess a state’s assertion that its SIP meets the Act’s requirements.

  See Indus. Br. 19-24; Utah Br. 33-34. Petitioners’ argument misconstrues the

  respective roles of EPA and states in two ways. First, Petitioners’ reasoning

  contravenes the plain language of the Act, which expressly tasks EPA with

  approving a SIP submission only if it meets applicable requirements. 42 U.S.C.

  § 7410(k); Heal Utah, 2023 WL 5185608, at *2; Wyoming, 2023 WL 5214083, at

  *6. Second, the Good Neighbor Provision unambiguously requires the prohibition

  of emissions that significantly contribute to nonattainment or interfere with

  downwind maintenance of the NAAQS. 42 U.S.C. § 7410(a)(2)(D)(i)(I). Utah’s

  Submission asserts that Utah does not have to adopt any additional emissions

  control measures to meet this requirement. But whether an upwind state has



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  correctly determined that its emissions significantly contribute to nonattainment or

  interfere with maintenance of the NAAQS in a downwind state is squarely within

  EPA’s wheelhouse to assess, as Congress provided.

        A.     The Act Directs EPA to Determine Whether Plans Meet
               Applicable Requirements.

        The Act’s plain terms direct EPA to ensure that a SIP “meets all of the

  applicable requirements” of the Act. 42 U.S.C. § 7410(k)(3). Petitioners’

  argument that EPA must accept the determinations in Utah’s Submission without

  engaging in a substantive review would render this requirement meaningless.

        Under the cooperative federalism scheme, the respective roles of EPA and

  states are clearly defined. Congress required states to “adopt and submit” SIPs that

  provide for the “implementation, maintenance, and enforcement” of the NAAQS.

  Id. § 7410(a)(1).

        Importantly, Congress charged EPA with ensuring that SIPs, including Good

  Neighbor SIPs, meet “all of the applicable requirements” of the Act, allowing

  approval only if the submissions meet such requirements, and otherwise requiring

  disapproval, in whole or in part. Id. § 7410(k)(2)-(3) (emphasis added). If a SIP is

  deficient, EPA must exercise its oversight role by disapproving it and

  promulgating a FIP thereafter. Id. § 7410(c)(1); see also Oklahoma, 723 F.3d at

  1204 (explaining that states exercise SIP authority with “federal oversight”);

  Wyoming, 2023 WL 5214083, at *6 (“To be sure, the Act provides for substantive


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  and careful EPA review; the agency need not simply rubberstamp SIPs.”).

  “Congress intended that EPA, not the states alone, ultimately ensure that state

  determinations . . . comply with the Act, and so authorized EPA to disapprove state

  ‘analysis that is neither reasoned nor moored to the [Act’s] provisions.’” Arizona

  ex rel. Darwin v. EPA, 815 F.3d 519, 532 (9th Cir. 2016) (quoting North Dakota v.

  EPA, 730 F.3d 750, 761 (8th Cir. 2013)) (rejecting argument that EPA bears the

  burden of proving a state’s determinations are unreasonable).

        In this way, the Act distinguishes between EPA’s substantive SIP review

  obligations under Section 7410(k)(3) and EPA’s more perfunctory responsibility of

  assessing a SIP for administrative completeness under Section 7410(k)(1)(B), as

  EPA did in finding Utah’s initial submission incomplete, see supra Background

  II.C. Accepting Petitioners’ view that EPA must defer to states’ substantive Good

  Neighbor analyses collapses these statutory obligations into one, rendering the

  separate statutory provisions duplicative and leaving EPA in a box-checking role

  without regard to EPA’s own expert judgment regarding compliance with the Good

  Neighbor Provision. See Nielsen, 139 S. Ct. at 969 (courts should avoid

  interpretations of a statutory provision “that causes it to duplicate another provision

  or to have no consequence”).

        Petitioners’ argument also conflicts with other provisions in the Act. For

  example, Section 7426(b)-(c) empowers EPA to impose federal requirements on



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  upwind sources or groups of sources (or force their shutdown within 3 months),

  based on petitions from downwind jurisdictions alleging Good Neighbor

  violations. That statutory provision expressly incorporates the language of the

  Good Neighbor Provision, independent of EPA’s SIP review processes under

  Section 7410(k). See GenOn REMA, LLC v. EPA, 722 F.3d 513, 520-24 (3d Cir.

  2013); Appalachian Power Co. v. EPA, 249 F.2d 1032, 1045-47 (D.C. Cir. 2001).

  Congress would not have granted EPA such authority in response to downwind

  jurisdictions’ petitions under Section 7426, while granting EPA no meaningful role

  in reviewing upwind states’ SIP submissions under Section 7410.

        Petitioners fundamentally misunderstand what it means for states to have the

  “primary responsibility” in SIP development under the Act. See Utah Br. 29;

  Indus. Br. 19-20. States surely enjoy wide discretion to formulate regulatory

  controls to include in their SIPs, 42 U.S.C. § 7410(a)(2)(A), meaning they can

  adopt whatever enforceable control measures they prefer that will attain and

  maintain the NAAQS, so long as they meet applicable requirements, see Train, 421

  U.S. at 79. Compare Heal Utah, 2023 WL 5185608, at *11 (upholding EPA’s

  approval of a SIP that met applicable best available retrofit technology (“BART”)

  requirements), with U.S. Magnesium, LLC v. EPA, 690 F.3d 1157, 1167-68 (10th

  Cir. 2012) (upholding EPA’s determination that a SIP was inadequate because it

  did not conform with EPA’s rules regarding unavoidable equipment malfunctions).



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  Here, Utah did not propose any regulatory controls, and the Disapproval rests on

  EPA’s determination that states (including Utah) unreasonably concluded that no

  emissions controls were required at all. Disapproval at 9343 n.43; Wyoming, 2023

  WL 5214083, at *6 (agreeing that “EPA does not have to accept unreasonable

  analyses that lead to an unreasonable . . . determination”). The question of whether

  a plan will adequately prohibit emissions that significantly contribute to

  nonattainment or interfere with maintenance in downwind states is at the heart of

  EPA’s role and responsibilities in overseeing implementation of the NAAQS. See

  Wisconsin, 938 F.3d at 312, 316.

        For this reason, the Supreme Court and this Court have recognized EPA’s

  authority to substantively review SIPs. As the Supreme Court observed when first

  interpreting the Act’s SIP provisions, the Act obligates EPA to evaluate SIPs for

  compliance with the Act’s requirements and to assess whether control measures

  that states adopt are adequate to actually attain the NAAQS or achieve other real-

  world results required by the Act. Union Elec., 427 U.S. at 249 (citing Train, 421

  U.S. at 64). EPA’s failure to do so would be unlawful or arbitrary. See Sierra

  Club v. EPA, 972 F.3d 290, 301-03 (3d Cir. 2020) (faulting EPA for approving SIP

  submission that lacked technical justification).

        This Court has repeatedly affirmed that the Act unambiguously grants EPA

  the authority to substantively review states’ determinations in their SIPs for



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  compliance with the Act. Heal Utah, 2023 WL 5185608, at *2 (“[T]he federal

  government develops baseline air quality standards and oversees states’ progress

  toward attaining those standards.”); Oklahoma, 723 F.3d at 1207-10; Wyoming,

  2023 WL 5214083, at *6-7. For example, in Oklahoma, the Court was faced with

  a similar argument from petitioners: that because the statute gives states authority

  to make BART determinations in their SIPs, “the statute unambiguously prescribes

  a limited role for the EPA,” and thus “EPA exceeded its statutory authority by

  rejecting [the State’s] BART determinations and replacing them with its own.”

  723 F.3d at 1207. This Court rejected that argument, citing EPA’s obligation to

  review SIPs for compliance with the Act and explaining that, “because the EPA

  monitors SIPs for compliance with the statute, it must monitor BART

  determinations for compliance with the guidelines.” Id. at 1210. The Court

  therefore concluded, “[g]iven that the statute mandates that the EPA must ensure

  SIPs comply with the statute, we fail to see how the EPA would be without the

  authority to review BART determinations for compliance with the guidelines.” Id.

  at 1208; see also Heal Utah, 2023 WL 5185608, at *8-11 (upholding EPA’s

  review and approval of Utah’s regional haze SIP). These holdings are aligned with




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  other decisions from this Court20 and many other circuits,21 deferring to EPA’s

  technical determinations.

        In sum, the plain text of the Act requires EPA to ensure that SIPs contain

  adequate provisions to provide for attainment and maintenance of the NAAQS, and

  to satisfy the Act’s specific requirements, including the Good Neighbor Provision.

  42 U.S.C. § 7410(a), (k). EPA therefore acts within Congress’s clear delegation of

  authority when it disapproves a submission because it does not meet the Good

  Neighbor Provision’s requirements.




  20
    See also WildEarth Guardians, 770 F.3d at 927; U.S. Magnesium, 690 F.3d at
  1167-68 (upholding EPA’s determination that Utah’s SIP was inadequate based on
  EPA’s reasonable interpretation of how to treat emissions from equipment
  malfunctions).
  21
    See, e.g., BCCA Appeal Grp. v. EPA, 355 F.3d 817, 832-34 (5th Cir. 2003)
  (deferring to EPA’s evaluation of Texas’s photochemical modeling and approval
  of Texas’s SIP because EPA provided a reasonable explanation for its reliance on
  the model); North Dakota, 730 F.3d at 760-61 (deferring to EPA’s determination
  that North Dakota’s SIP submission contained methodological flaws and upholding
  EPA’s disapproval of that submission); Ass’n of Irritated Residents v. EPA, 686
  F.3d 668, 677 (9th Cir. 2012) (highlighting EPA’s “affirmative duty” to ensure
  SIPs demonstrate attainment); Westar, 608 F. App’x at 3 (agency action “regarding
  technical matters within its area of expertise warrants particular deference”) (citing
  Balt. Gas v. NRDC, 462 U.S. 87, 103 (1983)); Mich. Dep’t of Env’t Quality v.
  Browner, 230 F.3d 181, 185-86 (6th Cir. 2000) (deferring to EPA’s determination
  that a state’s SIP submission failed to offer analysis showing that Michigan’s SIP
  will not interfere with the attainment and maintenance of the NAAQS).



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         B.     EPA’s Evaluation of the Submission was Consistent with its
                SIP Approval Authority and the Good Neighbor Provision.

         EPA’s evaluation of Utah’s SIP submission should be upheld as reasonable;

  EPA’s review was consistent with its longstanding practice of independently

  reviewing SIP submissions generally and of utilizing its 4-step framework to

  evaluate Good Neighbor SIPs’ compliance with the Act specifically.

         Although states are not bound to follow EPA’s 4-step framework, the

  framework provides essential clarity, predictability, and consistency among the

  many affected states regarding how EPA would evaluate SIP submissions. See

  Disapproval at 9338-43. The 4-step framework gives content to each critical term

  in the Good Neighbor Provision, has been used in the context of both evaluating

  SIPs and implementing FIPs, and has been upheld as reasonable. EME Homer,

  572 U.S. at 518-20; Westar, 608 F. App’x at 2-3; see also RTC at 431 [JA_]

  (explaining how each step of the 4-step framework relates to the statutory terms).

  Accordingly, EPA utilized the 4-step framework as a reasonable analytical

  framework to organize its evaluation of Good Neighbor SIPs. See North Dakota,

  730 F.3d at 766. This was neither improper nor unreasonable and did not mean

  that EPA imposed the 4-step framework on states—EPA thoroughly evaluated

  whether any alternative approaches states put forward could be approved. See

  infra Arg. III.




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        On this point, the Court’s recent decision in Wyoming is not to the contrary.

  There, the Court faulted EPA for failing to sufficiently explain why the State’s

  submission was unreasonable, absent EPA’s reliance on BART guidelines the Act

  expressly directed were non-binding as to the source in question. 2023 WL

  5214083, at *5. Here, by contrast, EPA did not rotely apply its non-binding

  guidance to disapprove Utah’s (or any other states’) Submission; rather, it

  recognized that states have latitude to present their own approaches to their Good

  Neighbor obligations, and EPA explained in detail why it found states’ approaches

  compliant (or not) with the Act. See Disapproval at 9369; infra Arg. III. This is

  wholly consistent with Wyoming’s observation that “the Act provides for

  substantive and careful EPA review” of state submissions and its recognition that

  EPA may reference and utilize helpful guidelines in carrying out its statutory

  obligation. Wyoming, 2023 WL 5214083, at *5-6; see also U.S. Magnesium, 690

  F.3d at 1168 (deeming reasonable EPA’s reliance on “policy statements to explain

  its interpretation of the [Act],” while also “clearly explain[ing] its reasoning in

  determining” that the SIP did not comport with the Act).

        Similarly, Utah’s attempt to distinguish Oklahoma and WildEarth

  Guardians as involving application of EPA regulations misses the mark. Utah Br.

  37-38. EPA routinely develops technical methodologies to evaluate SIPs that are

  tethered and give content to terms of the Act, and EPA regularly relies on these



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  frameworks to evaluate a SIP’s compliance with the Act. See, e.g., BCCA Appeal,

  355 F.3d at 823, 840 (upholding EPA’s “exhaustive review” of Texas’s SIP

  submission under three-part framework—not codified in regulation—that EPA

  developed to evaluate “enforceable commitments”). Notably, EPA was required

  to issue the BART Guidelines via rulemaking in accordance with Section 7491 of

  the Act. See Oklahoma, 723 F.3d at 1205; WildEarth Guardians, 770 F.3d at 924.

  The Act imposes no similar requirement on EPA before it is empowered to act on

  Good Neighbor SIPs, so it is of no import that the 4-step framework has not been

  codified in regulation. See EME Homer, 572 U.S. at 509 (“When Congress elected

  to make EPA’s input a prerequisite to state action under the Act, it did so

  expressly.”).

        Contrary to Petitioners’ assertions, see, e.g., Indus. Br. 24-26; Utah Br. 35-

  36, EPA did not disapprove Utah’s Submission merely to pursue its own policy

  preferences. EPA issued the Disapproval pursuant to its statutory obligations after

  finding that none of the 21 states’ submissions were consistent with the Good

  Neighbor Provision as no state submitted a satisfactory evaluation of their

  emissions for significance despite evident contribution to downwind air pollution.

  42 U.S.C. § 7410(a)(2)(D)(i)(I). Moreover, EPA’s concerns with consistency and

  equity derive directly from the text of the Good Neighbor Provision itself. As

  addressed above, ozone presents a regional-scale pollution problem, by which



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  multiple states across the country contribute to downwind nonattainment. See

  supra Arg. I.B (providing a map of this interstate ozone problem); Disapproval at

  9342, 9380. In reviewing EPA’s approach to this problem in prior cases, courts

  have repeatedly recognized the importance of equity and consistency; the more one

  state declines to eliminate emissions, the more other states—whether downwind or

  upwind—must implement their own controls to achieve compliance with the

  NAAQS. See, e.g., EME Homer, 572 U.S. at 519 (holding that EPA’s approach is

  an “equitable solution to the allocation problem the Good Neighbor Provision

  requires the Agency to address”); Maryland, 958 F.3d at 1201 (recognizing that

  Good Neighbor actions “equalize the burdens between upwind and downwind

  states”). What Petitioners present as EPA’s policy preference is a nationally

  consistent approach to reviewing all state submissions in the context of interstate

  ozone transport—an approach that gives meaning to the plain language in the Act,

  case law, and EPA’s longstanding practice.

        Finally, Petitioners take issue with EPA’s review of Utah’s Submission,

  asserting federal overreach merely because EPA required that states technically

  justify their alternative methodologies. See Utah Br. 36. EPA’s expectation that

  any alternative approach be technically and legally justified was eminently

  reasonable. Because EPA’s 4-step framework had been approved as a reasonable

  method to assess Good Neighbor obligations by the Supreme Court, EME Homer,



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  572 U.S. at 519, states proposing alternative frameworks should be reasonably

  expected to present technical justifications and rely upon scientifically acceptable

  methodologies to demonstrate that their frameworks would comply with the Act;

  this is nothing but a truism regarding the burden on any administrative agency.

  Otherwise, a state could simply assert without any rationale that it did not

  significantly contribute or interfere with maintenance. Alaska DEC, 540 U.S. at

  490 (“We fail to see why Congress having expressly endorsed an expansive

  surveillance role for EPA . . . would then implicitly preclude the Agency from

  verifying substantive compliance . . . and, instead, limit EPA’s superintendence to

  the insubstantial question whether the state permitting authority had uttered the key

  words[.]”). In sum, EPA acted within its statutory authority in evaluating the state

  SIP submissions for compliance with the Good Neighbor Provision.

  III.   EPA Reasonably and Lawfully Disapproved Utah’s Submission
         on the Merits of the Submission.

         Despite recognizing that it contributed emissions to Colorado receptors

  above its own chosen threshold of 1 ppb, Utah proposed taking no action to lower

  its emissions based on three legally and technically insufficient factors. EPA, as

  the expert federal agency charged by Congress with addressing the nation’s air

  pollution problems, reasonably found Utah’s “weight-of-evidence analysis”

  inadequate to support Utah’s conclusions. First, EPA concluded that the Colorado

  receptors suffer from collective contribution from upwind states, including Utah.


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  Proposal at 31479-81. Second, EPA rejected Utah’s attempt to absolve itself of its

  statutory obligation simply because other emissions sources also contribute to

  those receptors. Id. at 31482. Third, EPA explained that any emissions reductions

  from existing regulations were already accounted for. Id. at 31483. For these

  legally and technically sound reasons, EPA found Utah’s Submission deficient on

  its own terms, warranting disapproval. Disapproval at 9360. These findings are

  entitled to deference.

        A.     EPA Reasonably Concluded that Colorado Receptors
               Suffer from Collective Contribution.

        The receptors in Colorado to which Utah is linked are all located in the

  Denver nonattainment area, which was recently reclassified to a worse level from

  Marginal to Moderate for failure to timely attain the NAAQS. 87 Fed. Reg. 60897,

  60901 (Oct. 7, 2022). EPA has consistently found that the air quality at these

  receptors is and continues to be impacted by “collective contribution.” “Collective

  contribution” refers to the total amount of upwind states’ contributions to ozone

  concentrations at the same receptor. Disapproval at 9371; RTC at 319-20 [JA_-_].

  The fact that many smaller emissions sources combine to create ozone problems

  downwind necessitates emissions reductions from a broad region to address a

  problem that may be hundreds of miles away. Disapproval at 9342. Only in one

  narrow circumstance (for a less protective ozone NAAQS) has EPA found total

  upwind-state contribution to monitoring sites (in California) so low that upwind


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  state emissions reductions were not required. RTC 236-37 [JA_-_]. For all other

  receptors, including the ones in Colorado, EPA has consistently declined to

  discount collective contribution and has disapproved SIPs that attempted to do the

  same. Id.; 81 Fed. Reg. 71991, 71993 (Oct. 19, 2016) (disapproving Utah’s SIP

  for 2008 ozone NAAQS).

        Nonetheless, Utah contends that it need not determine whether its

  contributions to Colorado are significant because collective contribution at the

  Colorado receptors is lower than at some receptors in the eastern United States.

  Submission at 18 [JA_]; Utah Br. 42-43. EPA fully considered the data presented

  in Utah’s Submission and (once again) concluded that the Colorado receptors

  suffer from collective contribution impacting their nonattainment. Proposal at

  31481; Disapproval at 9378-79.

        As EPA explained, notwithstanding any regionally specific issues western

  states may face, see Utah Br. 40-41; Indus. Br. 21,22 Utah’s own chosen modeling

  showed that upwind states contribute 8-10% of total ozone concentrations at

  Colorado receptors, sufficient to demonstrate a collective contribution problem.

  Proposal at 31481. In the Disapproval, EPA again rejected the notion that the




  22
    As explained infra Arg. V., EPA’s updated modeling considered these regionally
  specific issues.


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  narrow circumstances presented by certain California monitoring sites were

  applicable elsewhere. Id.; RTC at 236-37 [JA_].

        As the chart below demonstrates, EPA has consistently found Colorado

  receptors to be impacted by collective contribution for multiple ozone NAAQS and

  multiple states (including Utah multiple times). See Proposal at 31481.

   Contributing Ozone          Determination                           Cite
       State    NAAQS
   California   2008  “[T]he average interstate                 83 Fed. Reg.
                      contribution to ozone                     65093, 65094 (Dec.
                      concentrations from all states            19, 2018)
                      upwind of these receptors [in
                      the Denver area] was both
                      considerable (9.2 to 9.4 percent
                      of the projected ozone design
                      values) and comparable to
                      collective contributions from
                      upwind states to receptors in
                      Texas as evaluated in the
                      [Update Rule].”
   California   2015  There are receptors in the                87 Fed. Reg. at
                      Denver area.                              31457
   Texas        2015  The Denver area receptors                 TCEQ Modeling
                      analyzed by Texas are impacted            TSD, at 90 [JA_]
                      by collective contribution.
   Utah         2008  Total collective contribution             81 Fed. Reg. at
                      from upwind states represents a           71995
                      significant portion of the ozone
                      concentrations at Denver
                      receptors.
                      Collective contribution of                82 Fed. Reg. 9155,
                      transported pollution to                  9157 (Feb. 3, 2017)
                      Colorado receptors is
                      substantial.




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   Wyoming         2008        Air quality problems in Denver      82 Fed. Reg. 9142,
                               were “comparable to receptors       9149-50 (Feb. 3,
                               the EPA has addressed in the        2017)23
                               East.”


        So, EPA’s assessment of Utah’s contributions to the Denver area is

  consistent with its evaluation of collective contribution to the same receptors in the

  past, and, contrary to Petitioners’ contention (Submission at 18 [JA_]; Utah Br. 46-

  49; Indus. Br. 21-22), is distinguishable from EPA’s assessment of the California

  monitoring sites in its prior approval of Arizona’s submission for the 2008 ozone

  NAAQS (“Arizona approval”). In that action, EPA concluded that two monitors in

  California should not be treated as receptors for purposes of determining Good

  Neighbor obligations for the 2008 ozone NAAQS, because the cumulative upwind-

  state impact to those two monitors was only 2.5% and 4.4% of ozone

  concentration, respectively. See Proposal at 31479-80. The total collective

  contribution to the Denver area is greater than that in all modeling iterations. Id. at

  31481 (8-10% in the 2011-based modeling, Utah’s preferred modeling); 2016v2

  Air Quality TSD at C-7-C-8 [JA_-_] (6-7% in the 2016v2 modeling); 2016v3 Air

  Quality TSD at D-2-D-3 [JA_-_] (6-8% in the 2016v3 modeling).



  23
    Although EPA later changed its disapproval of Wyoming at prong 2 to an
  approval using updated air quality information, EPA’s determination of the nature
  of the air quality problem in Denver did not change. See 84 Fed. Reg. 14270 (Apr.
  10, 2019).


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        EPA has previously explained why the facts from the Arizona approval are

  not analogous to Utah’s situation. See 82 Fed. Reg. at 9157. In reexamining the

  issue in light of new data, EPA reasonably determined that no state included in the

  Disapproval presented circumstances analogous to that of the Arizona approval

  based on total collective contribution to downwind receptors. Proposal at 31481;

  RTC at 234-37 [JA_-_] (rejecting commenters’ arguments that EPA should

  approve Alabama’s and Missouri’s SIPs by viewing Texas receptors analogously

  to monitoring sites in California).24

        Utah also paints an inaccurate picture of EPA’s past treatment of western

  states, arguing that EPA has recognized that air quality problems are different in

  eastern and western states. Utah Br. 41 (citing Update Rule at 75715). This

  mischaracterizes EPA’s prior rulemakings. In proposing the Update Rule—a FIP

  for the less protective prior ozone NAAQS—EPA took comment on including

  24
    Petitioners contend that EPA decided to exclude Oregon from the FIP, based on
  Oregon’s weight-of-evidence approach. Indus. Br. 22. This is inaccurate. EPA
  previously approved Oregon’s Good Neighbor SIP for the 2015 ozone NAAQS
  because the modeling at the time indicated Oregon was not contributing above 0.70
  ppb to any receptor. See 84 Fed. Reg. 7854 (Mar. 5, 2019). When updated
  modeling indicated Oregon contributes above 0.70 ppb to monitoring sites in
  California, EPA explained it was not planning to issue an error correction of
  Oregon’s approval because the circumstances were akin to (and not an expansion
  of) those in Arizona’s approval. See RTC at 236-37 [JA_-_]. However, EPA did
  not finalize that decision and is further considering comments regarding the issue.
  88 Fed. Reg. at 36718. EPA’s treatment of Arizona for the 2008 ozone NAAQS
  remains the only time that EPA has deemed it appropriate in a final action to
  determine monitoring sites to which at least one state is linked are not receptors.


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  western states in that rulemaking, but did not do so, recognizing the potential

  relevance of unspecified geographic factors. See Update Rule at 74523. EPA

  expressly stated that even though western states were not covered by that

  rulemaking, “western states are not relieved of their statutory obligation to address

  interstate transport.” Id. EPA thereafter disapproved Utah’s Good Neighbor

  submission for the 2008 ozone NAAQS. 81 Fed. Reg. 71991.

        EPA has never concluded that all western states should be treated differently

  than eastern states in evaluating ozone transport. Instead, EPA has utilized its 4-

  step framework in reviewing western state submissions for compliance with the

  Act, Disapproval at 9378-79; RTC 459-62 [JA_-_], while accounting for any

  particularities on a case-by-case basis, when appropriate using a “weight-of-

  evidence” approach, see, e.g., 87 Fed. Reg. 61249, 61254 (Oct. 11, 2022) (finding

  the influence of the unique topography of the Uinta Basin in Utah on formation of

  wintertime ozone supportive of approving Colorado’s 2015 ozone NAAQS Good

  Neighbor submission); see also RTC at 303-04 [JA_-_] (identifying circumstances

  where EPA has considered weight-of-evidence approaches appropriate).

        EPA has consistently concluded that Utah contributes to the Denver area’s

  ozone problems, those problems are due in part to the collective contribution of

  upwind states, and Utah presented no persuasive reason to reach a different

  conclusion.



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        B.     EPA Reasonably Concluded that Utah is Not Absolved of its
               Good Neighbor Obligations Merely Because Other Sources
               Also Contribute to the Colorado Receptors.

        The Good Neighbor Provision requires states and EPA to address transport

  of air pollution that contributes to ozone levels at downwind receptors, regardless

  of whether other emissions contribute to the same problems; it does not establish a

  causation standard. Disapproval at 9378-79; Wisconsin, 938 F.3d at 323-25.

        Utah’s Submission incorrectly concluded that because Colorado’s in-state

  contributions to its own receptors are greater than Utah’s, and because 52-56% of

  total contributions to Colorado receptors originate from international or non-

  anthropogenic sources, Utah need not consider whether it significantly contributes

  to Denver area’s nonattainment. Submission at 19-20 & Tables 3, 4 [JA_-_]; Utah

  Br. 34; Indus. Br. 21. In disapproving Utah’s submission, EPA explained why, as

  a legal and technical matter, contribution from other sources does not relieve Utah

  of its Good Neighbor obligations. Proposal at 31482; Disapproval at 9378.

        In Wisconsin, the D.C. Circuit expressly rejected petitioners’ argument that

  monitors should not be identified as receptors under the Good Neighbor Provision

  if their air quality problems “were actually attributable not to upwind-state but to

  non-U.S. emissions,” holding that the “logic incorrectly assumes that an upwind

  State ‘contributes significantly’ to downwind nonattainment only when its

  emissions are the sole cause of downwind nonattainment.” 938 F.3d at 324



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  (quotation omitted). As the court noted, “[m]any (or perhaps all) receptors would

  also attain the NAAQS if all in-state contributions were eliminated, or if all

  upwind contributions were eliminated, or if all non-anthropogenic contributions

  were eliminated.” Id. (quotation omitted). EPA applied and explained the

  Wisconsin holding in the Disapproval, which accords with its own views of what

  significant contribution means. See Disapproval at 9378; Proposal at 31482; RTC

  at 337-39 [JA_-_].

        EPA also explained that even if non-anthropogenic/non-U.S. emissions total

  52-59% of total ozone concentration at the Colorado receptors, 41-48% of ozone

  levels at these receptors is still the result of anthropogenic emissions originating in

  the United States. Proposal at 31482. Although not all U.S. anthropogenic

  emissions are attributable to Utah, the State’s own modeling shows that Utah

  contributes to Colorado receptors at levels that justify evaluating emissions control

  opportunities. Id. Utah took no such action.

        Petitioners cast blame on Colorado, arguing the Act imposes “the

  concomitant responsibility” for downwind states to also limit their emissions.

  Indus. Br. 24 (quoting Maryland, 958 F.3d at 1201). EPA explained that it does

  not disagree with that proposition, but in the absence of a definition of upwind

  states’ significant contribution (Utah offered none), the analysis EPA would

  normally conduct to calculate the downwind areas’ fair share is not possible (and



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  Utah did not offer an alternative calculation of that either). RTC at 455 [JA_]; see

  also 88 Fed. Reg. at 36749 (assuming Colorado’s implementation of

  commensurate emissions reductions at Step 3). Further, Petitioners take Maryland

  out of context. There the D.C. Circuit concluded that as part of a multi-state

  nonattainment area with a violating monitor in Pennsylvania, Delaware could hold

  Pennsylvania responsible under Section 7426 for its continuing nonattainment

  status. Id. at 456 [JA_] (discussing 958 F.3d at 1197-1201). If anything, Maryland

  reinforces that upwind states should not be excused from their statutory duty to

  reduce emissions hampering other states’ ability to reach attainment. Id.

        C.     EPA Reasonably Concluded that Utah is Not Absolved of its
               Good Neighbor Obligations Because of Emissions
               Reductions Already Achieved Through 2017 and
               Unquantified, Vague Expectations of Future Emissions
               Reductions.

        Utah’s Submission argued that additional emission controls are not

  necessary because Utah and Colorado had and would continue to achieve

  emissions reductions due to state and federal regulations adopted since 2011 or

  anticipated to be adopted after Utah submitted its SIP. See Submission at 20-22

  [JA_-_]; Utah Br. 44; Indus. Br. 22, 24. EPA reasonably rejected this argument.

        Importantly, EPA’s updated modeling captured the effects of existing, on-

  the-books control measures referenced in Utah’s Submission (including reductions

  due to Colorado state measures) in its projections of air quality and contributions.



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  Proposal at 31483; RTC at 455 [JA_]. Even after accounting for the impacts of

  these emissions reductions, the Denver area’s nonattainment persists, and Utah

  remains linked above 1 ppb to Colorado’s receptors. Proposal at 31483.

  Moreover, even if these emissions reductions were not already accounted for, Utah

  included none of its claimed emissions reductions as measures for EPA to approve

  in its Submission, rendering the Submission inadequate. Disapproval at 9360,

  9376-77; see also Mont. Sulfur & Chem. Co. v. EPA, 666 F.3d 1174, 1195-96 (9th

  Cir. 2012) (“The EPA correctly reads 42 U.S.C. § 7410(a)(2) as requiring states to

  include enforceable emissions limits and other control measures in the plan

  itself.”).

         EPA also deemed Utah’s invocation of existing and expected regulations

  technically deficient. Utah’s conclusions about predicted NOX reduction were

  unsupported, as Utah failed to “explain the baseline from which that amount of

  emissions reductions was derived” or “how or why that amount of emissions

  reduction is sufficient to eliminate significant contribution or interference with

  maintenance.” Proposal at 31483. And, by pointing only to planned emissions

  reductions inside the Salt Lake City nonattainment area, Utah failed to evaluate

  emissions reductions from the highest emitting NOX sources in the State, including

  multiple electric generating units located outside of that nonattainment area. Id.

  Moreover, Utah’s submission predominantly cited expected emissions reductions



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  in VOC emissions, but “EPA has long recognized that the more important ozone-

  precursors for purposes of addressing regional and long-range interstate ozone

  transport are [NOX].” Id.

                               *     *     *      *      *

        In sum, Utah’s own modeling showed it was linked to Colorado receptors

  above even a 1 ppb threshold. Nonetheless, Utah presented a series of arguments

  for why it need not evaluate whether its contributions to Colorado are significant,

  in violation of the State’s statutory obligations. EPA found each of those

  arguments legally and technically deficient. It was reasonable for EPA to

  disapprove the State’s submission on these grounds, and the Court need not reach

  the lawfulness of EPA’s consideration of updated modeling or any alleged change

  in EPA policy. See Sierra Club v. EPA, 939 F.3d 649, 687 (5th Cir. 2019)

  (upholding EPA’s SIP approval based on state’s chosen modeling without reaching

  merits of EPA’s modeling).

  IV.   EPA Did Not Violate Any Reliance Interest Utah Might Have in
        EPA’s Pre-Proposal Memoranda or Pre-Submission Comments.

        Although Petitioners spill much ink accusing EPA of changing policy in

  violation of Petitioners’ reliance interest, EPA has done no such thing. Utah Br.

  29-32; Indus. Br. 26-31. A reliance-interest violation presumes a change in agency

  policy, and there was none here. See DHS v. Regents of the Univ. of Cal., 140 S.

  Ct. 1891, 1913 (2020). Petitioners’ argument that EPA “changed the standards it


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  applied to reviewing Utah’s SIP submission,” Utah Br. 31, without giving Utah

  “fair warning,” Indus. Br. 26, mischaracterizes EPA’s prior statements and its

  bases for the Disapproval. The Disapproval was entirely consistent with any

  policies expressed in the 2018 Memos and pre-submission feedback.

        A.     EPA Assessed Utah’s Submission Consistent with the 1 ppb
               Memo and its Pre-Submission Feedback.

        Petitioners incorrectly assert that EPA disapproved Utah’s Submission

  because the State evaluated linkages at Step 2 using a 1 ppb threshold, citing the 1

  ppb Memo and EPA’s pre-submission feedback. Indus. Br. 28-30; Utah Br. 30-31.

  As a threshold matter, the contribution threshold made no difference to the

  outcome of EPA’s evaluation, because even Utah’s Submission identified

  contributions to receptors above its chosen 1 ppb threshold. Submission at 17-18

  & Table 1 [JA_-_]. For that reason, EPA stated that Utah’s “use of this alternative

  threshold at Step 2 . . . would not alter [EPA’s] review and proposed disapproval.”

  Proposal at 31478; Disapproval at 9373.

        Moreover, EPA’s consideration of the 1% threshold was not “contrary” to

  the 1 ppb Memo. Cf. Indus. Br. 30, 34-35. Instead, the 1 ppb Memo provides that

  “it may be reasonable and appropriate for states to use a 1 ppb contribution

  threshold,” 1 ppb Memo at 4 [JA_] (emphasis added), but that states “should

  consider whether the recommendations in this guidance are appropriate for each

  situation,” id. at 1 [JA_]. Similarly, EPA’s pre-submission feedback merely


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  recommended that the State review the 1 ppb Memo, but never stated that if Utah

  did so, its Submission would be approved. Nov. 14, 2018 Email & Attach. 2 [JA_,

  _] (explaining that final decisions would be made only after submission and notice

  and comment rulemaking); see also RTC at 75-76 [JA_-_]. EPA assessed Utah’s

  submission consistent with this pre-submission guidance. Because Utah offered no

  explanation for why a relatively large loss in upwind contribution would be

  appropriate to allow at Colorado receptors, EPA found that Utah had not justified

  the use of a 1 ppb threshold.25 Proposal at 31478; Disapproval at 9360.

        EPA did not change its prior position in concluding that Utah did not

  provide an adequate showing that the use of the 1 ppb threshold was justifiable.

  See Disapproval at 9373; RTC at 299 [JA_]. But, again, more fundamentally, this

  is irrelevant to any evaluation of Utah’s reliance interests, since Utah’s Submission

  was disapproved under Utah’s chosen 1 ppb contribution threshold.

        B.     EPA Did Not Disapprove Utah’s Submission Because the
               State Relied on 2011-Based Modeling.

        Petitioners also mistakenly contend that EPA moved the goalposts by

  evaluating Utah’s Submission using its 2016-based modeling instead of 2011-


  25
     Although the 1 ppb Memo suggests that a 1 ppb and 1% threshold generally
  result in a comparable amount of contribution captured, that generalization does
  not bear out at the Colorado receptors to which Utah contributes. See Submission
  at 18 [JA_]; Proposal at 31478 (identifying a loss of 13.5% and 33.2% in collective
  contribution in moving from a 1% to 1 ppb contribution threshold at two Colorado
  receptors).

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  based modeling. Indus. Br. 27-28, 30.26 Once again, the argument is irrelevant

  because Utah was linked to Colorado in all iterations of the modeling.

           As indicated in the chart below in bold, EPA’s 2011-based modeling

  included in the Modeling Memo as well as every iteration of 2016-based modeling

  all identified that Utah contributes above 0.70 ppb to the same three receptors in

  Colorado (80350004, 80590006, and 80590011), with Utah’s linkages to two of

  those monitors (80350004, 80590011) falling above 1 ppb, Utah chosen threshold,

  in every iteration of modeling:

                           2011-based27      2016v228           2016v329
   Linked receptors        80050002a         080350004a         080013001b
   (monitor                80350004a         080590006a         080050002a, b
   identification          80590006          080590011a         080310002b
   number)                 80590011a                            080310026b
                           80690011a                            080350004a
                                                                080590006a
                                                                080590011a
                                                                080690011
   a
       Contribution above 1 ppb.
   b
       Violating monitor receptor.

  26
    Industry Petitioners’ reference to “Technical Support Document for the 2015
  Ozone NAAQS Preliminary Interstate Transport Assessment” as the “December
  2016 Memo,” is apparently a reference to EPA’s notice of data availability seeking
  feedback on preliminary modeling results. See 82 Fed. Reg. 1733 (Jan. 6, 2017).
  However, Utah’s submission relied on the subsequent round of 2011-based
  modeling results released with the Modeling Memo. Submission at 17 [JA_].
  27
       Modeling Memo at C-3 [JA_].
  28
       Proposal at 31479 (Table 5).
  29
       2016v3 Air Quality TSD at C-3, C-5 [JA _, _].


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        Thus, Utah’s choice of modeling does not affect whether EPA lawfully

  disapproved Utah’s Submission, and Petitioners’ claim that EPA violated its

  reliance interests in the 2011-based modeling is simply untrue. In any case, EPA’s

  Modeling Memo merely presented the most up-to-date modeling data available at

  the time for states to consider. See Modeling Memo at 2 [JA_] (explaining that the

  memo was merely meant to “inform the development of the SIPs,” and that “the

  information [wa]s not a final determination regarding states’ obligations under the

  good neighbor provision”). EPA did not reject any SIP based on the state’s choice

  of modeling, nor did it evaluate states’ submissions based solely on the 2016-based

  modeling; rather, EPA considered the whole record to render an independent

  judgment whether states had met their Good Neighbor obligations. Disapproval at

  9366; RTC at 60 [JA_].

        C.     Utah Mischaracterizes Attachment A.

        Petitioners inaccurately describe Attachment A to the Modeling Memo as

  EPA-endorsed. Utah Br. 30; see also Indus. Br. 28 (describing Attachment A as

  “EPA-approved considerations”). All Attachment A amounted to was “a

  preliminary list of potential flexibilities that may warrant further discussion.”

  Modeling Memo at 3 [JA_] (emphasis added). EPA made clear that these ideas

  were not guidance, but outside stakeholder ideas on which EPA merely invited

  “feedback.” Id. at A-1 [JA_]; see also Disapproval at 9369. EPA expressly stated



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  that it “is not at this time making any determination that the ideas [in Attachment

  A] are consistent with the requirements of the [Act], nor . . . specifically

  recommending that states use these approaches.” Modeling Memo at A-1 [JA_].

  In considering these ideas, EPA also listed “guiding principles to consider when

  evaluating the appropriateness of the concepts” in Attachment A, including the

  importance of consistency across states and “[c]ompliance with statutory

  requirements and legal precedent from court decisions interpreting the [Act’s]

  requirements.” Id. Petitioners ignore this clear language.

        Nowhere did EPA suggest that states could apply alternative approaches that

  lacked technical justification or failed to comport with the Act or applicable case

  law, as Utah’s Submission did. See supra Arg. III. In fact, EPA stated the

  opposite. So, Petitioners could have no reasonable reliance interest in Attachment

  A, as EPA “specifically acknowledged” that the ideas in Attachment A had not yet

  been evaluated for consistency with the Act’s requirements and that states seeking

  to apply those ideas would need to consider whether those ideas complied with the

  statute and relevant case law. See Woodford v. Garceau, 538 U.S. 202, 213 (2003)

  (O’Connor, J., concurring). Attachment A was never EPA policy. See Jake’s

  Fireworks Inc. v. Acosta, 893 F.3d 1248, 1262 (10th Cir. 2018) (describing policy

  statements as “public pronouncements of the policy that the agency plans to

  follow”) (quotation omitted).



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        D.    EPA Abided by All Procedural Requirements and Provided
              Robust Explanations.

        Even if the Disapproval represents a change in policy from EPA’s pre-

  submission memoranda and feedback (which it does not), EPA did not “mov[e] the

  goalposts” on Petitioners without giving them “fair warning.” Utah Br. 32; Indus.

  Br. 26.

        Petitioners ignore the critical fact that EPA published its Proposal roughly a

  year before taking final action, thereby giving Utah the ability to comment on the

  Proposal and, if it deemed appropriate, submit a new SIP. Although Utah did not

  submit a new SIP, it (and industries within the State) provided comments on the

  Proposal, which EPA thoroughly considered and addressed in the Disapproval and

  RTC. See, e.g., Disapproval at 9378-79. Thus, EPA fulfilled every procedural

  obligation required of it under the APA. Perez, 575 U.S. at 96; see also Quest

  Corp. v. FCC, 689 F.3d 1214, 1229-31 (10th Cir. 2012) (upholding FCC’s decision

  despite change in policy, because the FCC requested comments on the new policy

  and offered a reasonable and robust explanation for its new approach).

        Petitioners suggest that when EPA deemed Utah’s initial submission

  incomplete, it should have given Utah notice that EPA disagreed with the

  substance of the State’s Submission. See Indus. Br. 29; Utah Br. 14. But as

  already described, completeness determinations under Section 7410(k)(1) do not

  involve an evaluation of the submission’s merits. Supra Arg. II.A. EPA makes its


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  completeness determination prior to reviewing the merits of a SIP and would not

  have been able to make any final determination on Utah’s submission before

  reviewing public comments. See 42 U.S.C. § 7410(k)(1)(B).

        Petitioners also claim that EPA “leveraged” delay in order to disapprove

  Utah’s Submission. See Utah Br. 26, 31. EPA does not dispute that the Act

  requires it to take final action on SIPs and promulgate FIPs by certain deadlines

  under Section 7410(c) and (k). Disapproval at 9364. But those dates are

  “procedural” in nature and do not modify EPA’s substantive review authority.

  Wisconsin, 938 F.3d at 322. Further, this Court has no basis to read bad faith or

  improper motive into the Disapproval, and Petitioners have supplied no evidence

  to support this contention. See Biden v. Texas, 142 S. Ct. 2528, 2546-47 (2022)

  (holding that a presumption of regularity attends agency action absent a “strong

  showing of bad faith or improper behavior” (quotation omitted)). In any case,

  EPA’s timing in no way prejudiced Utah, since Utah was linked in every modeling

  iteration. See supra Arg. IV.B.

        Moreover, EPA’s timeliness to Act is not for this Court to review, but rather

  is appropriately adjudicated in the district courts. The Act provides only one

  judicial recourse when there is an alleged failure by EPA to perform a

  nondiscretionary duty—for EPA to be placed on a court-ordered deadline to

  address the relevant obligations. 42 U.S.C. § 7604(a)(2); see also Oklahoma, 723



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  F.3d at 1223-24 (rejecting argument that EPA loses its authority to promulgate a

  FIP when it fails to act within the statutory timeframe).

  V.    It was Lawful and Reasonable for EPA to Consider the Most Up-
        to-Date Data, Which Accounted for Western-Specific Issues.

        As discussed supra Argument III, EPA thoroughly evaluated Utah’s

  Submission and, based on Utah’s chosen modeling and contribution threshold,

  determined that Utah contributed to Colorado’s receptors. EPA further deemed

  unsupported Utah’s decision not to evaluate whether those contributions were in

  amounts that significantly contributed or interfered with maintenance, thus

  warranting emissions reductions. Id. Thus, EPA’s consideration of the updated

  2016-based modeling was not necessary to the Disapproval. See supra Arg. IV.B.

  Petitioners nonetheless attack EPA’s updated modeling in the Disapproval,

  claiming EPA’s modeling was not as accurate as updated modeling conducted by

  Colorado. Indus. Br. 31-34. These arguments, too, lack merit.

        Petitioners argue that EPA’s modeling fails to account for terrain and

  meteorological conditions unique to the Rocky Mountain region and that

  Colorado’s modeling was more location appropriate. Indus. Br. 32-34.

        But EPA thoroughly reviewed its modeling and found it suitable for

  assessing ozone transport in western states, including the Rocky Mountains,

  explaining that its 2016v3 modeling met performance criteria, performing as well

  as, if not better than, Colorado’s modeling. RTC at 176-78 [JA_-_]. EPA’s


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  modeling considered impacts from international emissions by including emissions

  from Canada and Mexico, 2016v3 Emissions TSD at 85-87 [JA_-_]; long-range

  international emissions transport using a global chemistry model, 2016v3 Air

  Quality TSD at 8 [JA_]; and wildfire emissions, 2016v3 Emissions TSD at 70-78

  [JA_-_]. In addition, days found to be “exceptional events” due to substantial

  impacts from wildfires or stratospheric intrusions were removed from the analysis.

  RTC at 460-61 [JA_-_]. EPA therefore concluded that the “modeling . . . captures

  the geographical differences between the west and the east.” Id. at 461 [JA_].

        EPA explained that Colorado’s modeling, prepared in 2022, does not

  indicate EPA’s modeling is unreliable or that Colorado receptors are going to

  achieve the NAAQS in 2023 under a business-as-usual scenario. RTC at 171-84

  [JA_-_]. For example, contrary to what Petitioners assert, Indus. Br. 32, EPA

  explained that Colorado’s own modeling projects that a receptor (monitoring site

  number 80590011) in the Denver area to which Utah contributes will continue to

  exceed the NAAQS in 2023. See RTC at 178 (Table 4-13) [JA_]; Colorado TSD

  at 30 (Table 4-2) [JA_].30 And, although Colorado did not model upwind

  contributions, EPA’s modeling concluded that Utah contributes 1.27 ppb at that



  30
    EPA also found that, based on recent measured ozone levels, both EPA’s and
  Colorado’s modeling likely underpredict ozone levels in the Denver area, RTC at
  178 n.51 [JA_], further undercutting Petitioners’ argument that “the area will attain
  the ozone NAAQS even without any reductions from Utah sources,” Indus. Br. 32.


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  same receptor in 2023. 2016v3 Air Quality TSD at C-3 [JA_]. Additionally, in

  response to comments, EPA compared its model performance to Colorado’s model

  performance; although Colorado’s modeling used a 4-kilometer grid resolution and

  EPA’s uses a 12-kilometer resolution, see Indus. Br. 33, EPA found that both

  resolutions projected similar average design values. RTC at 177-78 & Table 4-13

  [JA_-_].

        The fact that Petitioners may be dissatisfied with the outcome of EPA’s

  review of Utah’s SIP submission does not render the Disapproval arbitrary and

  capricious. Arkansas, 503 U.S. at 110-13 (EPA’s factual findings are entitled to

  substantial deference). EPA thoroughly considered and provided record responses

  to all issues Petitioners raise in their briefs with respect to EPA’s up-to-date

  modeling. These conclusions are reasonable and entitled to deference.

  VI.   Remedy

        A.     Any Remedy Should be Limited to the Disapproval that is
               Before the Court.

        These petitions for review challenge only the Disapproval. Petitioners did

  not challenge EPA’s 2019 Finding of Failure to Submit and are separately

  challenging the Good Neighbor Plan. See Utah v. EPA, 23-1157 (D.C. Cir.).

  Because these separate agency actions are not currently before the Court, any relief

  the Court orders must be narrowly tailored to the Disapproval action only and must

  not constrain EPA’s authority to continue to enforce its 2019 Finding or its federal


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  Good Neighbor Plan. See 5 U.S.C. §§ 706 (limiting courts’ review to “an agency

  action”), 551(13) (defining “agency action”).31

         Limiting any relief to the SIP Disapproval is also appropriate given EPA’s

  independent authority to enforce the Good Neighbor Plan based on the 2019

  Finding. See Consent Decree, Sierra Club, No. 3:22-cv-01992, ECF No. 37

  (obligating EPA to promulgate a Good Neighbor FIP for Utah unless it approves a

  SIP). Under the Act, EPA has a duty to promulgate a FIP if it disapproves a SIP or

  if it makes a finding of failure to submit, and only EPA’s approval of a SIP

  submission obviates the duty to develop a FIP following a finding of failure to

  submit. 42 U.S.C. § 7410(c)(1). As this Court correctly observed:




  31
    It is undisputed that the Court lacks authority to order EPA to approve Utah’s
  Submission or otherwise direct its actions on remand. Instead, relief is limited to
  upholding the Disapproval, or either (1) vacating and remanding or (2) remanding
  without vacatur. See, e.g., Fed. Power Comm’n v. Idaho Power Co., 344 U.S. 17,
  20 (1952) (“[T]he function of the reviewing court ends when an error of law is laid
  bare. At that point the matter once more goes to the [agency] for
  reconsideration.”); Calcutt v. FDIC, 598 U.S. 623, 629 (2023) (“[T]he proper
  course, except in rare circumstances, is to remand to the agency for additional
  investigation or explanation. A reviewing court, accordingly, is not generally
  empowered to conduct a de novo inquiry into the matter being reviewed and to
  reach its own conclusions based on such an inquiry.” (cleaned up)).


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         Under 42 U.S.C. § 7410(c)(1), the EPA must create a FIP after either
         the state has failed to make the required SIP submission or the EPA
         has disapproved part of the state’s SIP. This duty continues to exist
         ‘unless the State corrects the deficiency, and the Administrator
         approves the plan or plan revision, before the Administrator
         promulgates such Federal implementation plan.’ § 7410(c)(1)
         (emphasis added). Once the EPA issued findings that Oklahoma
         failed to submit the required SIP under the Regional Haze Rule, the
         EPA had an obligation to promulgate a FIP. The statute itself makes
         clear that the mere filing of a SIP by Oklahoma does not relieve the
         EPA of its duty.

  Oklahoma, 723 F.3d at 1223. As in Oklahoma, EPA took both actions here. See

  Disapproval at 9360; 2019 Finding at 66614. Because the mere filing of Utah’s

  Submission did not relieve EPA of its duty, and EPA has not approved a

  subsequent SIP submission, the 2019 Finding (which Petitioners did not challenge)

  is an independent basis for the Good Neighbor Plan. Even if this Court vacates

  EPA’s Disapproval, doing so would not obviate the need for either an approved

  SIP or a FIP; rather, vacating the Disapproval would merely put Utah’s Submission

  before EPA again to consider in light of the Court’s opinion. Only an approved

  SIP would alleviate EPA’s obligation to issue a FIP.

         In its Stay Order, the motions panel erred by prohibiting EPA from

  enforcing the Good Neighbor Plan in Utah, and this Court can and should correct

  this mistake since the Stay Order is neither binding precedent nor the law of the

  case. See Stifel, Nicolaus & Co., Inc. v. Woolsey & Co., Inc., 81 F.3d 1540, 1544

  (10th Cir. 1996). This Court’s final judgment should acknowledge, or at a



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  minimum not constrain, EPA’s independent authority to implement the Good

  Neighbor Plan in Utah, which EPA could promptly execute through appropriate

  rulemaking action accounting for any needed adjustments in the schedule or

  requirements of that rule resulting from the stay.

         B.    The Court Should Remand Without Vacatur.

         The Court should remand the Disapproval as to Utah without vacatur—

  especially if the Court disagrees that EPA has independent authority to continue to

  enforce the Good Neighbor Plan absent the Disapproval. In considering whether to

  vacate an agency action, the Court must consider (1) the likelihood that the

  agency’s action could be sustained on remand and (2) the disruptive consequences

  that might flow from a vacatur of the action. Diné Citizens Against Ruining Our

  Env’t v. Haaland, 59 F.4th 1016, 1049 (10th Cir. 2023); see also Allied-Signal,

  Inc. v. NRC, 988 F.2d 146, 150-51 (D.C. Cir. 1993) (explaining that “[a]n

  inadequately supported rule . . . need not necessarily be vacated”). Here, both

  prongs show that remand without vacatur is proper.

         First, Petitioners primarily allege procedural defects and record-based

  deficiencies that EPA could address and correct on remand. For example, if the

  Court concludes that EPA unlawfully considered state-of-science air quality data,

  EPA could substantiate the Disapproval on remand exclusively using information

  available to Utah. See supra Arg. III. Similarly, if the Court concludes EPA was



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  entitled to reject Utah’s Submission but should have provided a more

  comprehensive explanation, EPA could provide one on remand.

         Second, vacatur in a manner that prohibits EPA from otherwise enforcing

  the Good Neighbor Plan would result in substantial disruption to the parties and the

  public interest.32 Vacatur would further delay EPA’s efforts to implement

  Congress’s mandate to upwind states to prohibit emissions contributing

  significantly to nonattainment or interfering with maintenance as expeditiously as

  practicable. Maryland, 958 F.3d at 1203-04; Wisconsin, 938 F.3d at 317. Vacatur

  would thus leave downwind states to suffer continuing poor air quality and

  inequitable regulatory burdens and hinders downwind states’ efforts to attain the

  2015 ozone NAAQS while permitting upwind states to “reap[] the benefits of the

  economic activity causing the pollution without bearing all the costs.” EME

  Homer, 572 U.S. at 495.

         The Good Neighbor Plan’s goal of encouraging better emissions

  performance from power plants beginning in 2023 and bringing more substantial

  emissions reductions online by 2026 was designed to benefit downwind areas

  throughout the country, including in the Denver area to which Utah significantly

  contributes. See supra Arg. III. The Good Neighbor Plan was also designed to


  32
    Even if the Court agrees that EPA has independent authority, vacatur would still
  be disruptive—forcing EPA to begin rulemaking anew rather than narrowly
  addressing specific issues on remand.

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  comply with prior court rulings and deliver air quality benefits already delayed by

  several years under the statutory schedule. See, e.g., 88 Fed. Reg. at 36690.

         Without the Good Neighbor Plan or approved SIPs that meet the Good

  Neighbor Provision, there is significant inequity, as sources in the states that are

  not affected by judicial stays remain subject to the Good Neighbor Plan, and

  downwind areas continue to obtain no relief from the significant contribution of

  these three states. Vacating the Disapproval in a manner that prohibits EPA from

  otherwise enforcing the Good Neighbor Plan as applied to Utah would further

  disrupt the schedule of cost-effective emissions reductions, see id. at 36737-39,

  and delay “meaningful downwind air quality improvement,” id. at 36748, that the

  Good Neighbor Plan is designed to deliver.

         Out of concerns for public health and the environment, courts have a history

  of not vacating EPA actions implementing the Good Neighbor Provision, even

  when remand of some aspect of those actions may be appropriate. See, e.g.,

  Wisconsin, 938 F.3d at 336 (“[W]e do not vacate regulations when doing so would

  risk significant harm to the public health or the environment.”); North Carolina v.

  EPA, 550 F.3d 1176, 1178 (D.C. Cir. 2008) (same). Thus, if the Court determines

  that EPA erred, EPA asks the Court to remand the Disapproval without vacatur and

  let its stay order expire by its own terms.




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                                    CONCLUSION

         For the foregoing reasons, the petitions for review should be transferred to

  the D.C. Circuit, dismissed, or denied.

  Date: September 11, 2023

                                             Respectfully submitted,

                                             TODD KIM
                                             Assistant Attorney General

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                 STATEMENT REGARDING ORAL ARGUMENT

         EPA requests oral argument. EPA believes that the Court would benefit

  from argument addressing the application of 42 U.S.C. § 7607(b)(1)’s venue

  provision to the agency actions challenged here.

         If the Court reaches the merits, the petitions raise complex legal and record

  issues. The administrative record includes a significant amount of technical

  material regarding air pollutant modeling and analyses. Adjudicating the merits of

  the petitions for review will therefore require the Court to consider many complex

  issues and a substantial amount of information. EPA therefore believes the Court

  would benefit from oral argument.




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                             CERTIFICATE OF COMPLIANCE

         I hereby certify:

         1.    This document complies with the type-volume limitation of Federal

  Rule of Appellate Procedure 32(a)(7)(B)(i) and the Court’s May 30, 2023 Order,

  ECF No. 11002290, because, excluding the parts of the document exempted by

  Rule 32(f) and 10th Cir. R. 32(B), this document contains 19,472 words.

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  Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Rule

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                                            s/ Alexandra L. St. Romain
                                            ALEXANDRA L. ST. ROMAIN

                                            Counsel for Respondents




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                     CERTIFICATE OF DIGITAL SUBMISSION

         I hereby certify that with respect to the foregoing:

         (1)   all required privacy redactions have been made per 10th Cir. R. 25.5;

         (2)   no hardcopies of the preliminary briefs are required at this time, see

  ECF. No. 11002290; and

         (3)   the digital submissions have been scanned for viruses with the native

  Microsoft Windows 10 Virus and Threat Protection service, last updated

  September 11, 2023, and, according to the program, they are free of viruses.

                                             s/ Alexandra L. St. Romain
                                             ALEXANDRA L. ST. ROMAIN

                                             Counsel for Respondents




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                            CERTIFICATE OF SERVICE

         I hereby certify that on September 11, 2023, I electronically filed the

  foregoing using the court’s CM/ECF system, which will send notification of such

  filing to all registered CM/ECF users.

                                             s/ Alexandra L. St. Romain
                                             ALEXANDRA L. ST. ROMAIN

                                             Counsel for Respondents




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                                 ATTACHMENTS

  Attachment A: Air Plan Disapprovals; Interstate Transport of Air Pollution for the
  2015 8-Hour Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 9336
  (Feb. 13, 2023) (“Disapproval”).
  Attachment B: Air Plan Disapproval; Utah; Interstate Transport of Air Pollution
  for the 2015 8-Hour Ozone National Ambient Air Quality Standards, 87 Fed. Reg.
  31470 (May 24, 2022) (“Proposal”).




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